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                               No. 22-13051


        IN THE UNITED STATES COURT OF APPEALS
              FOR THE ELEVENTH CIRCUIT


        In Re: Blue Cross Blue Shield Antitrust Litigation (MDL 2406)
                         _______________________

           On Appeal from the United States District Court for the
              Northern District of Alabama, Southern Division,
                         No. 2:13-CV-20000-RDP
__________________________________________________________________

              APPELLANT’S PRINCPAL APPEAL BRIEF




                                         David G. Behenna
                                         155 Fleet Street
                                         Portsmouth, NH 03801
                                         Telephone: (603) 964-4688
                                         Email: dgbehenna@yahoo.com

                                         Pro Se Objector-Appellant
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               CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT

Pursuant to 11th Cir. R. 26.1, Appellant hereby certifies that the following is a

complete list of the trial judges, attorneys, persons, associations of persons, firms,

partnerships, corporations, and other legal entities that have an interest in the

outcome of this particular case on appeal:

  1.    450 Ventures, LLC, Affiliate of Defendants-Appellees

  2.    A. Duie Pyle, Inc., Plaintiff-Appellee

  3.    Accenda Health Company, Affiliate of Defendants-Appellees

  4.    Access Health, Inc., Affiliate of Defendants-Appellees

  5.    Accident Fund Holding, Inc., Affiliate of Defendants-Appellees

  6.    ACE, including ACE American Insurance Company and Illinois Union

        Insurance Company, Insurer of Defendants-Appellees

  7.    Adams & Reese, LLP, Counsel for Defendants-Appellees

  8.    Adamson, Virginia, Counsel for Interested Party-Appellant

  9.    Adcox, Rachel, Counsel for Defendants-Appellees

  10.   Advance Insurance Company of Kansas, Affiliate of Defendants-Appellees

  11.   Advanced Health Information Network, LLC, Affiliate of Defendants-

        Appellees

  12.   Aero Jet Intermediate Holdings, Inc., which is wholly owned by Aero

        Medical International, Inc., Parent to Plaintiffs-Appellees
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 13.   Ahrens, Ellen M., Counsel for Plaintiffs-Appellees

 14.   American International Group Inc. (AIG) (including Lexington Insurance

       Company, National Union Insurance Company, and Illinois National

       Insurance Co.), Insurer of Defendants-Appellees

 15.   Alabama Industries Financial Corporation, Affiliate of Defendants-

       Appellees

 16.   AlaHealth, Inc., Affiliate of Defendants-Appellees

 17.   Alexander, Laura, Counsel for Plaintiffs-Appellees

 18.   Allie, Renee E., Plaintiff-Appellee

 19.   Allied World Assurance Company, f/k/a Darwin National and Darwin

       Select, Insurer of Defendants-Appellees

 20.   Ambrecht Jackson LLP, Counsel for Defendants-Appellees

 21.   America’s 1st Choice of South Carolina, Inc., Subsidiary of Defendants-

       Appellees

 22.   American Electric Motor Services Inc., Plaintiff-Appellee

 23.   AMERIGROUP Community Care of New Mexico, Inc., Subsidiary of

       Defendants-Appellees

 24.   AMERIGROUP Corporation, Subsidiary of Defendants-Appellees

 25.   Amerigroup District of Columbia, Inc., Subsidiary of Defendants-

       Appellees


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 26.   Amerigroup Insurance Company, Subsidiary of Defendants-Appellees

 27.   AMERIGROUP Iowa, Inc., Subsidiary of Defendants-Appellees

 28.   Amerigroup Kansas, Inc., Subsidiary of Defendants-Appellees

 29.   AMERIGROUP Maryland, Inc., Subsidiary of Defendants-Appellees

 30.   AMERIGROUP Ohio, Inc., Subsidiary of Defendants-Appellees

 31.   AMERIGROUP New Jersey, Inc., Subsidiary of Defendants-Appellees

 32.   AMERIGROUP Tennessee, Inc., Subsidiary of Defendants-Appellees

 33.   AMERIGROUP Texas, Inc., Subsidiary of Defendants-Appellees

 34.   AMERIGROUP Washington, Inc., Subsidiary of Defendants-Appellees

 35.   AmeriHealth, Inc., Parent to Defendants-Appellees

 36.   AMGP Georgia Managed Care Company, Inc., Subsidiary of Defendants-

       Appellees

 37.   Anthem Blue Cross (Blue Cross of California), Defendant-Appellee

 38.   Anthem Blue Cross and Blue Shield of Connecticut, Defendant-Appellee

 39.   Anthem Blue Cross and Blue Shield of Indiana, Defendant-Appellee

 40.   Anthem Blue Cross and Blue Shield of Missouri, Defendant-Appellee

 41.   Anthem Blue Cross and Blue Shield of New Hampshire, Defendant-

       Appellee

 42.   Anthem Blue Cross and Blue Shield of Virginia, Inc., Defendant-Appellee




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 43.   Anthem Blue Cross Life and Health Insurance Company, Defendant-

       Appellee

 44.   Anthem Financial, Inc., Affiliate of Defendants-Appellees

 45.   Anthem Health Insurance Company of Nevada, Subsidiary of Defendants-

       Appellees

 46.   Anthem Health Plans of Kentucky, Inc., Defendant-Appellee

 47.   Anthem Health Plans of Maine, Defendant-Appellee

 48.   Anthem Health Plans of Maine, Inc., Defendant-Appellee

 49.   Anthem Health Plans of New Hampshire, Inc. (Anthem Blue Cross and

       Blue Shield of New Hampshire), Defendant-Appellee

 50.   Anthem Health Plans of Virginia, Inc. (Anthem Blue Cross and Blue

       Shield of Virginia Inc.), Defendant-Appellee

 51.   Anthem Health Plans, Inc. (Anthem Blue Cross and Blue Shield of

       Connecticut), Defendant-Appellee

 52.   Anthem Holding Corporation, Defendant-Appellee

 53.   Anthem Insurance Companies, Inc. (Anthem Blue Cross and Blue Shield

       of Indiana), Defendant-Appellee

 54.   Anthem, Inc. (ELV), Defendant-Appellee

 55.   Anthem, Inc. (Anthem Health Plans of Virginia, Inc.), Defendant-Appellee




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 56.   Anthem, Inc. (Parent to Anthem Insurance Companies, Inc.), Defendant-

       Appellee

 57.   Anthem, Inc. (Parent to Community Insurance Company), Defendant-

       Appellee

 58.   Anthem, Inc., f/k/a Wellpoint, Inc. d/b/a Anthem Blue Cross Life and

       Health Insurance Company, Blue Cross of California, Blue Cross of

       Southern California, Blue Cross of Northern California, Rocky Mountain

       Hospital and Medical Service Inc. d/b/a Anthem Blue Cross Blue Shield of

       Colorado and Anthem Blue Cross Blue Shield of Nevada, Anthem Blue

       Cross Blue Shield of Connecticut, Anthem Blue Cross Blue Shield of

       Georgia, Anthem Blue Cross Blue Shield of Indiana, Anthem Blue Cross

       Blue Shield of Kentucky, Anthem Blue Cross Blue Shield of Maine,

       Anthem Blue Cross Blue Shield of Missouri, RightCHOICE Managed

       Care, Inc., HMO Missouri Inc., Anthem Health Plans of New Hampshire

       as Anthem Blue Cross Blue Shield of New Hampshire, Empire

       HealthChoice Assurance, Inc. as Empire Blue Cross Blue Shield,

       Community Insurance Company as Anthem Blue Cross Blue Shield of

       Ohio, Anthem Blue Cross and Blue Shield of Virginia, Anthem Blue Cross

       Blue Shield of Wisconsin, Defendant-Appellee




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 59.   Anthem Kentucky Managed Care Plan, Inc., Subsidiary of Defendants-

       Appellees

 60.   Anthem Life & Disability Insurance Company, Affiliate of Defendants-

       Appellees

 61.   Anthem Life Insurance Company, Defendant-Appellee

 62.   Anthem Partnership Holding Company, LLC, Subsidiary of Defendants-

       Appellees

 63.   Anthem Southeast, Inc., Subsidiary of Defendants-Appellees

 64.   Anthem Workers’ Compensation, LLC, Subsidiary of Defendants-

       Appellees

 65.   APC Passe, LLC, Affiliate of Defendants-Appellees

 66.   Arch Insurance Company (ACGL), Insurer of Defendants-Appellees

 67.   Argo Re (ARGO), Insurer of Defendants-Appellees

 68.   Arizmendi, Sylmarie, Counsel for Defendants-Appellees

 69.   Arkansas Blue Cross and Blue Shield, Defendant-Appellee

 70.   Armbrecht Jackson LLP, Counsel for Defendants-Appellees

 71.   ASC Benefit Services, LLC, Affiliate of Defendants-Appellees

 72.   Aschenbrenner, Juanita, Plaintiff-Appellee

 73.   Aschenbrenner, Tom, Plaintiff-Appellee

 74.   Associated Group, Inc., Subsidiary of Defendants-Appellees


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 75.   Asuris Northwest Health, Subsidiary of Defendants-Appellees

 76.   ATH Holding Company, LLC, Subsidiary of Defendants-Appellees

 77.   Ausman Law Firm, Counsel for Plaintiffs-Appellees

 78.   Ausman, Jason, Counsel for Plaintiffs-Appellees

 79.   Avalon Insurance Company, Affiliate of Defendants-Appellees

 80.   Avantgarde Aviation, Inc., Plaintiff-Appellee

 81.   Aware Integrated, Inc., Parent to Defendants-Appellees

 82.   Axinn, Veltrop & Harkrider, LLP, Counsel for Defendants-Appellees

 83.   Bailey, Arthur, Counsel for Plaintiffs-Appellees

 84.   Baird, Lisa M., Counsel for Defendants-Appellees

 85.   Balch & Bingham LLP, Counsel for Defendants-Appellees

 86.   Ball & Scott Law Offices, Counsel for Plaintiffs-Appellees

 87.   Ball, W. Gordon, Counsel for Plaintiffs-Appellees

 88.   Balmori, Daniel, Counsel for Defendants-Appellees

 89.   Barnes, Benjamin L., Counsel for Plaintiffs-Appellees

 90.   Barnett, Tyler J., Counsel for Plaintiffs-Appellees

 91.   Barr, Sternberg, Moss, Lawrence, Silver & Munson, P.C., Plaintiff-

       Appellee

 92.   Barstow, Erik, Plaintiff-Appellee

 93.   Bartlett, Inc. d/b/a Energy Savers, Plaintiff-Appellee


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 94.   Bartony & Hare, Counsel for Plaintiffs-Appellees

 95.   Battin, Timothy D., Counsel for Plaintiffs-Appellees

 96.   Baudin, Stanley P., Counsel for Plaintiffs-Appellees

 97.   BCBSM, Inc. d/b/a Blue Cross Blue Shield of Minnesota, Defendant-

       Appellee

 98.   BCS Insurance Company, Insurer of Defendants-Appellees

 99.   Beard, Braden, Counsel for Plaintiffs-Appellees

 100. Bearman, Edward M., Counsel for Plaintiffs-Appellees

 101. Beck & Amsden PLLC, Counsel for Plaintiffs-Appellees

 102. Beck, Monte D., Counsel for Plaintiffs-Appellees

 103. Behenna, David G., Interested Party-Appellant

 104. Belin, Eric R.G., Counsel for Plaintiffs-Appellees

 105. Belt Law Firm, PC, Counsel for Plaintiffs-Appellees

 106. Belt, Keith T., Counsel for Plaintiffs-Appellees

 107. Belzer, Betsy Jane, Plaintiff-Appellee

 108. BeneVive, Inc., Affiliate of Defendants-Appellees

 109. Berger & Montague, P.C., Counsel for Plaintiffs-Appellees

 110. Bernick, Justin, Counsel for Defendants-Appellees

 111. Bhuta, Monika, Plaintiff-Appellee

 112. Bishop, Martin J., Counsel for Defendants-Appellees


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  113. Bisio, Peter, Counsel for Defendants-Appellees

  114. Blackrock, Inc., 10% Owner of a Plaintiff-Appellee

  115. Blanchfield, Garrett, Counsel for Plaintiffs-Appellees

  116. Bloomberg, Edward S., Counsel for Defendants-Appellees

  117. Blue Care Network of Michigan, Affiliate of Defendants-Appellees

  118. Blue Cross and Blue Shield of Alabama, Defendant-Appellee

  119. Blue Cross and Blue Shield of Arizona, Defendant-Appellee

  120. Blue Cross and Blue Shield of Florida, Defendant-Appellee

  121. Blue Cross and Blue Shield of Florida, Inc., Defendant-Appellee

  122. Blue Cross and Blue Shield of Florida, Inc. d/b/a Florida Blue, Defendant-

        Appellee

  123. Blue Cross and Blue Shield of Georgia, Defendant-Appellee

  124. Blue Cross and Blue Shield of Georgia, Inc., Defendant-Appellee

  125. Blue Cross and Blue Shield of Illinois, Affiliate of Defendants-Appellees

  126. Blue Cross and Blue Shield of Kansas, Defendant-Appellee

  127. Blue Cross and Blue Shield of Kansas City, Defendant-Appellee

  128. Blue Cross and Blue Shield of Kansas Foundation, Affiliate of Defendants-

        Appellees

  129. 129. Blue Cross and Blue Shield of Kansas, Inc., Defendant-Appellee

  130. 130. Blue Cross and Blue Shield of Louisiana, Defendant-Appellee


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  131. 131. Blue Cross and Blue Shield of Massachusetts, Defendant-Appellee

  132. 132. Blue Cross and Blue Shield of Massachusetts HMO Blue, Inc.,

        Affiliate of Defendants-Appellees

  133. Blue Cross and Blue Shield of Massachusetts, Inc., Defendant-Appellee

  134. Blue Cross and Blue Shield of Michigan, Defendant-Appellee

  135. Blue Cross and Blue Shield of Minnesota, Defendant-Appellee

  136. Blue Cross and Blue Shield of Mississippi, Defendant-Appellee

  137. Blue Cross and Blue Shield of Montana, Affiliate of Defendants-Appellees

  138. Blue Cross and Blue Shield of Nebraska, Defendant-Appellee

  139. Blue Cross and Blue Shield of New Mexico, Affiliate of Defendants-

        Appellees

  140. Blue Cross and Blue Shield of North Carolina, Defendant-Appellee

  141. Blue Cross and Blue Shield of North Carolina, Inc., Defendant-Appellee

  142. Blue Cross and Blue Shield of North Dakota, Defendant-Appellee

  143. Blue Cross and Blue Shield of Oklahoma, Affiliate of Defendants-

        Appellees

  144. Blue Cross and Blue Shield of Rhode Island, Defendant-Appellee

  145. Blue Cross and Blue Shield of South Carolina, Defendant-Appellee

  146. Blue Cross and Blue Shield of Tennessee, Defendant-Appellee

  147. Blue Cross and Blue Shield of Tennessee, Inc., Defendant-Appellee


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  148. Blue Cross and Blue Shield of Texas, Affiliate of Defendants-Appellees

  149. Blue Cross and Blue Shield of Vermont, Defendant-Appellee

  150. Blue Cross and Blue Shield of Wyoming, Defendant-Appellee

  151. Blue Cross Blue Shield Association, Defendant-Appellee

  152. Blue Cross Blue Shield Healthcare Plan of Georgia, Inc., Defendant-

        Appellee

  153. Blue Cross Blue Shield of Alabama, Defendant-Appellee

  154. Blue Cross Blue Shield of Arizona, Defendant-Appellee

  155. Blue Cross Blue Shield of Florida, Defendant-Appellee

  156. Blue Cross Blue Shield of Massachusetts, Defendant-Appellee

  157. Blue Cross Blue Shield of Michigan, Defendant-Appellee

  158. Blue Cross Blue Shield of Michigan Mutual Insurance Company,

        Defendant-Appellee

  159. Blue Cross Blue Shield of Minnesota, Defendant-Appellee

  160. Blue Cross Blue Shield of Mississippi, a Mutual Insurance Company,

        Defendant-Appellee

  161. Blue Cross Blue Shield of Montana, Defendant-Appellee

  162. Blue Cross Blue Shield of Nebraska, Defendant-Appellee

  163. Blue Cross Blue Shield of North Carolina, Defendant-Appellee

  164. Blue Cross Blue Shield of North Dakota, Defendant-Appellee


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  165. Blue Cross Blue Shield of Northeastern Pennsylvania, Defendant-Appellee

  166. Blue Cross Blue Shield of Rhode Island, Defendant-Appellee

  167. Blue Cross Blue Shield of South Carolina, Defendant-Appellee

  168. Blue Cross Blue Shield of Tennessee, Defendant-Appellee

  169. Blue Cross Blue Shield of Vermont, Defendant-Appellee

  170. Blue Cross Blue Shield of Wisconsin (Anthem Blue Cross Blue Shield of

        Wisconsin), Defendant-Appellee

  171. Blue Cross Blue Shield of Wyoming, Defendant-Appellee

  172. Blue Cross Complete of Michigan, LLC, Affiliate of Defendants-Appellees

  173. Blue Cross of California Partnership Plan, Inc., Defendant-Appellee

  174. Blue Cross of Idaho Care Plus, Inc., Affiliate of Defendants-Appellees

  175. Blue Cross of Idaho Health Service, Inc., Defendant-Appellee

  176. Blue Cross of Northeastern Pennsylvania - Wilkes-Barre, Defendant-

        Appellee

  177. BlueChoice HealthPlan of South Carolina, Inc., Affiliate of Defendants-

        Appellees

  178. BlueCross and BlueShield of North Carolina Senior Health, Affiliate of

        Defendants-Appellees

  179. BlueCross BlueShield Kansas Solutions, Affiliate of Defendants-Appellees

  180. Blue Shield of California, Defendant-Appellee


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  181. Blue Shield of California Life & Health Insurance Company, Subsidiary of

        Defendants-Appellees

  182. BMH, LLC, Affiliate of Defendants-Appellees

  183. Bodman PLC, Counsel for Defendants-Appellees

  184. Boies, Alexander McInnis, Counsel for Plaintiffs-Appellees

  185. Boies, David, Counsel for Plaintiffs-Appellees

  186. Boies, Schiller & Flexner LLP, Counsel for Plaintiffs-Appellees

  187. Bojedla, Swathi, Counsel for Plaintiffs-Appellees

  188. Bondurant Mixson & Elmore, LLP, Counsel for Interested Party-

        Appellant

  189. Boozer Law Firm, LLC, Counsel for Plaintiffs-Appellees

  190. Borgeest, Wayne, Counsel for Insurer

  191. Bowling, Jeffrey L., Counsel for Plaintiffs-Appellees

  192. Boyd, Matthew Allan Plaintiff-Appellee

  193. Bradberry, Christy, Plaintiff-Appellee

  194. Bradberry, Kevin, Plaintiff-Appellee

  195. Bradley Arant Boult Cummings, LLP, Counsel for Interested Party-

        Appellant

  196. BridgeSpan Health Company, Subsidiary of Defendants-Appellees

  197. Briggs, John, Counsel for Defendants-Appellees


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  198. Brijbasi, Vijay G., Counsel for Defendants-Appellees

  199. Bronster Hoshibata, Counsel for Plaintiffs-Appellees

  200. Bronster, Margery S., Counsel for Plaintiffs-Appellees

  201. Brooks, John, Counsel for Insurer

  202. Brooks, Pierce, McLendon, Humphrey & Leonard, LLP, Counsel for

        Defendants-Appellees

  203. Bronster, Fujichaka, Robbins, ALC, Counsel for Plaintiffs-Appellees

  204. Bruner, Robert P., Counsel for Plaintiffs-Appellees

  205. Brunini, Grantham, Grower & Hewes, PLLC, Counsel for Defendants-

        Appellees

  206. Buchanan, Virginia, Counsel for Plaintiffs-Appellees

  207. Burkhalter, Carl S., Counsel for Defendants-Appellees

  208. Burns Charest LLP, Counsel for Plaintiffs-Appellees

  209. Burns, Eric, Counsel for Plaintiffs-Appellees

  210. Burns, Warren T., Counsel for Plaintiffs-Appellees

  211. Burr & Forman LLP, Counsel for Insurer

  212. Bustamante, Travis A., Counsel for Defendants-Appellees

  213. Cafferty Clobes Meriwether & Sprengel LLP, Counsel for Plaintiffs-

        Appellees

  214. Cafferty, Patrick, Counsel for Plaintiffs-Appellees


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  215. Cahaba Government Benefit Administrators, LLC, Affiliate of Defendants-

        Appellees

  216. Cahaba Medical Care, Defendant-Appellee

  217. Cahaba Safeguard Administrators, LLC, Affiliate of Defendants-Appellees

  218. Caliendo, Charles T., Counsel for Plaintiffs-Appellees

  219. California Physicians’ Service, Defendant-Appellee

  220. California Physicians’ Service, d/b/a Blue Shield of California, Defendant-

        Appellee

  221. Callister, Joshua, Counsel for Plaintiffs-Appellees

  222. Cambia Health Solutions, Inc., f/d/b/a Regence Blue Shield of Idaho,

        Regence Blue Cross Blue Shield of Oregon, Regence Blue Cross Blue

        Shield of Utah, Regence Blue Shield of Washington, Defendant-Appellee

  223. Campbell Partners, Counsel for Defendants-Appellees

  224. Campbell, A. Todd, Counsel for Defendants-Appellees

  225. Campbell, Andrew P., Counsel for Defendants-Appellees

  226. Capital Administrative Services, Inc., Affiliate of Defendants-Appellees

  227. Capital Advantage Assurance Company, Affiliate of Defendants-Appellees

  228. Capital Advantage Insurance Company, Affiliate of Defendants-Appellees

  229. Capital BlueCross, Defendant-Appellee

  230. Capital Health Plan, Inc., Affiliate of Defendants-Appellees


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  231. CareFirst Blue Cross and Blue Shield of Maryland, Defendant-Appellee

  232. CareFirst BlueChoice, Inc., Defendant-Appellee

  233. CareFirst BlueCross BlueShield, d/b/a Group Hospitalization and Medical

        Services and CareFirst Blue Cross Blue Shield of Maryland, Defendant-

        Appellee

  234. CareFirst Holdings, Inc., Parent to Defendants-Appellees

  235. CareFirst of Maryland, Inc., Defendant-Appellee

  236. CareFirst of Maryland, Inc. d/b/a CareFirst BlueCross BlueShield,

        Defendant-Appellee

  237. CareFirst, Inc., Defendant-Appellee

  238. CareMore Health Plan, Subsidiary of Defendants-Appellees

  239. CareMore Health Plan of Arizona, Inc., Subsidiary of Defendants-

        Appellees

  240. CareMore Health Plan of Nevada, Subsidiary of Defendants-Appellees

  241. CareMore Health Plan of Texas, Inc., Subsidiary of Defendants-Appellees

  242. CareMore Health System, Subsidiary of Defendants-Appellees

  243. Caring for Montanans, Inc., f/k/a Blue Cross and Blue Shield of Montana,

        Inc., Defendant-Appellee

  244. Caring for Montanans, Inc., Defendant-Appellee

  245. Caring Foundation, Affiliate of Defendants-Appellees


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  246. Carlson Lynch, Ltd., Counsel for Plaintiffs-Appellees

  247. Carlson Lynch Sweet Kilpela & Carpenter, LLP, Counsel for Plaintiffs-

        Appellees

  248. Carr, James P., Counsel for Plaintiffs-Appellees

  249. Casa Blanca, LLC, Plaintiff-Appellee

  250. Casey, Justine, Counsel for Insurer

  251. Catamount Insurance Services, Inc., Affiliate of Defendants-Appellees

  252. Cavanaugh, Patrick K., Counsel for Plaintiffs-Appellees

  253. CB Roofing LLC, Plaintiff-Appellee

  254. CCHA, LLC, Subsidiary of Defendants-Appellees

  255. Cerulean Companies, Inc., Subsidiary of Defendants-Appellees

  256. Cerven, Keith O., Plaintiff-Appellee

  257. Cerven, Teresa, M., Plaintiff-Appellee

  258. CGS Administrators, LLC, Affiliate of Defendants-Appellees

  259. Chadrow & Associates, Counsel for Plaintiffs-Appellees

  260. Chapman, Lewis & Swan, PLLC, Counsel for Plaintiffs-Appellees

  261. Chapman, Ralph E., Counsel for Plaintiffs-Appellees

  262. Charles M. Thompson PC, Counsel for Plaintiffs-Appellees

  263. Charnes, Adam H., Counsel for Defendants-Appellees

  264. Chavez, Kathleen, Counsel for Plaintiffs-Appellees


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  265. Chesler, Evan, Counsel for Defendants-Appellees

  266. Childress, Jennifer D., Plaintiff-Appellee

  267. Chubb (CB) (including Federal Insurance and Executive Risk), Insurer of

        Defendants-Appellees

  268. Cihlar, Nate, Counsel for Plaintiffs-Appellees

  269. Claim Management Services, Inc., Subsidiary of Defendants-Appellees

  270. Clark, Anna Mercado, Counsel for Defendants-Appellees

  271. Clement, Paul D., Counsel for Defendants-Appellees

  272. Clobes, Bryan, Counsel for Plaintiffs-Appellees

  273. Cobalt Benefits Group, LLC, Affiliate of Defendants-Appellees

  274. COBX Inc., Affiliate of Defendants-Appellees

  275. Cochran, Jennifer, Interested Party-Appellant (Pro Se)

  276. Coffey Burlington, Counsel for Defendants-Appellees

  277. Coffin, Christopher, Counsel for Plaintiffs-Appellees

  278. Cohen Milstein Sellers & Toll PLLC, Counsel for Plaintiffs-Appellees

  279. Cohen, Lucile H., Counsel for Defendants-Appellees

  280. Comet Capital LLC, Plaintiff-Appellee

  281. Commencement Bay Risk Management Insurance Company, Subsidiary of

        Defendants-Appellees




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USCA11 Case: 22-13051     Document: 122      Date Filed: 12/12/2022   Page: 20 of 109
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  282. Community Care Health Plan of Louisiana, Inc. d/b/a Healthy Blue,

        Subsidiary of Defendants-Appellees

  283. Community Care Health Plan of Nevada, Inc., Subsidiary of Defendants-

        Appellees

  284. Community Insurance Company, Defendant-Appellee

  285. Community Insurance Company as Anthem Blue Cross Blue Shield of

        Ohio, Defendant-Appellee

  286. Companion Benefit Alternatives, Inc., Affiliate of Defendants-Appellees

  287. Companion Data Services, LLC, Affiliate of Defendants-Appellees

  288. Companion Life Insurance Company, Affiliate of Defendants-Appellees

  289. Companion Life Insurance Company of California, Affiliate of

        Defendants-Appellees

  290. Comparato, Paige, Counsel for Defendants-Appellees

  291. Compcare Health Services Insurance Corporation, Affiliate of Defendants-

        Appellees

  292. Comprehensive Benefits Administrators, Inc., Affiliate of Defendants-

        Appellees

  293. Concepcion Martinez & Bellido, Counsel for Defendants-Appellees

  294. Concepcion, Esq., Carlos F., Counsel for Defendants-Appellees)

  295. Connally, III, N. Thomas, Counsel for Defendants-Appellees


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USCA11 Case: 22-13051     Document: 122    Date Filed: 12/12/2022     Page: 21 of 109
         No. 22-13051, In re: Blue Cross Blue Shield Antitrust Litigation

  296. Conner, Timothy J., Counsel for Defendants-Appellees

  297. Connor, Glen M., Counsel for Plaintiffs-Appellees

  298. Conrad Watson Air Conditioning, Inc., Plaintiff-Appellee

  299. Consolidated Benefits, Inc., Affiliate of Defendants-Appellees

  300. Consumer Financial Education Foundation of America, Inc., Plaintiff-

        Appellee

  301. Conway, D.C., Jerry L., Plaintiff-Appellee

  302. Coolidge, Melinda, Counsel for Plaintiffs-Appellees

  303. Cooper & Kirk, PLLC, Counsel for Plaintiffs-Appellees

  304. Cooper, Charles J., Counsel for Plaintiffs-Appellees

  305. Cooper, Davis, Counsel for Plaintiffs-Appellees

  306. Corporate Benefits Services, Inc., Affiliate of Defendants-Appellees

  307. Cory Watson Crowder & DeGaris, P.C., Counsel for Plaintiffs-Appellees

  308. Cory Watson, P.C., Counsel for Plaintiffs-Appellees

  309. Costello, Honor R., Counsel for Defendants-Appellees

  310. Cottrell, P.C., Christa C., Counsel for Defendants-Appellees

  311. Coulson, David A., Counsel for Defendants-Appellees

  312. Cowan, R. Christopher, Counsel for Plaintiffs-Appellees

  313. Cowan Law Firm, Counsel for Plaintiffs-Appellees

  314. Cozen O’Connor, Counsel for Plaintiffs-Appellees


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  315. Craker, Aaron, Interested Party-Appellant (Pro Se)

  316. Cramer, Eric L., Counsel for Plaintiffs-Appellees

  317. Cravath Swaine & Moore, Counsel for Defendants-Appellees

  318. Crispin, R. Randal, Counsel for Insurer

  319. Crossroads Acquisition Corp., Subsidiary of Defendants-Appellees

  320. Crowe & Dunlevy, Counsel for Defendants-Appellees

  321. Crowell & Moring LLP, Counsel for Defendants-Appellees

  322. Cude, Donna Smith, Counsel for Plaintiffs-Appellees

  323. Cunningham, Mark A., Counsel for Defendants-Appellees

  324. Curtis, Frank, Plaintiff-Appellee

  325. Cylkowski, Sarah L., Counsel for Defendants-Appellees

  326. Dampier Law Group, P.C., Counsel for Plaintiffs-Appellees

  327. Dampier, M. Stephen, Counsel for Plaintiffs-Appellees

  328. Davidson, Jennifer Ray, Plaintiff-Appellee

  329. Davis, Greg, Counsel for Plaintiffs-Appellees

  330. Deal, Cooper, & Holton, LLP, Counsel for Plaintiffs-Appellees

  331. DeCare Dental, LLC, Subsidiary of Defendants-Appellees

  332. DeCare Dental Health International, LLC, Subsidiary of Defendants-

        Appellees




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  333. DeCare Dental Insurance Ireland, Ltd., Subsidiary of Defendants-

        Appellees

  334. DeCare Dental Networks, LLC, Subsidiary of Defendants-Appellees

  335. DeGaris, Annesley H., Counsel for Plaintiffs-Appellees

  336. Del Sole Cavanaugh Stroyd, LLC, Counsel for Plaintiffs-Appellees

  337. Del Sole, Steven J., Counsel for Plaintiffs-Appellees

  338. Dellaccio, Douglas, Counsel for Plaintiffs-Appellees

  339. DeMasi, Karin, Counsel for Defendants-Appellees

  340. Dental Management Administrators, Inc., Affiliate of Defendants-

        Appellees

  341. Designated Agent Company, Inc., Subsidiary of Defendants-Appellees

  342. Dickinson Wright, PLLC, Counsel for Defendants-Appellees

  343. Dickinson, Mackaman, Tyler & Hagen, P.C., Counsel for Defendants-

        Appellees

  344. Diddle, Samuel A., Counsel for Defendants-Appellees

  345. Doherty, Ronan, Counsel for Interested Party-Appellant

  346. Dominick Feld Hyde PC, Counsel for Plaintiffs-Appellants

  347. Dominion Dental Services of New Jersey, Inc., Affiliate of Defendants-

        Appellees




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  348. Dominion Dental Services USA, Inc., Dominion National, Affiliate of

        Defendants-Appellees

  349. Dominion Dental Services, Inc., d/b/a Dominion National, Affiliate of

        Defendants-Appellees

  350. Dominion Dental USA, Inc., Affiliate of Defendants-Appellees

  351. Dominion National Insurance Company of New Jersey, Affiliate of

        Defendants-Appellees

  352. Donaldson Guin LLC, Counsel for Plaintiffs-Appellees

  353. Donnell, Sarah J., Counsel for Defendants-Appellees

  354. Dorr, Jr., Luther M., Counsel for Defendants-Appellees

  355. Draper, Hayward L., Counsel for Defendants-Appellees

  356. Dryden, Benjamin R., Counsel for Defendants-Appellees

  357. Dyer, Karen, Counsel for Plaintiffs-Appellees

  358. EAP Alliance Incorporated, Affiliate of Defendants-Appellees

  359. Eberle Berlin, Kading, Turnbow & McKlveen, Chartered, Counsel for

        Defendants-Appellees

  360. EEPA, LLC, Affiliate of Defendants-Appellees

  361. Eisler, Robert, Counsel for Plaintiffs-Appellees

  362. Empire HealthChoice Assurance, Inc., Defendant-Appellee




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  363. Empire HealthChoice Assurance, Inc., f/k/a Empire Blue Cross Blue

        Shield, Defendant-Appellee

  364. Empire HealthChoice HMO, Inc., Subsidiary of Defendants-Appellees

  365. Employee Services, Inc., Interested Party-Appellant

  366. Encore System Professionals, LLC, Affiliate of Defendants-Appellees

  367. Endurance Specialty Insurance Ltd., Insurer of Defendants-Appellees

  368. Enterprise Law Group, LLP, Counsel for Plaintiffs-Appellees

  369. Entrust Administrative Services, Inc., Affiliate of Defendants-Appellees

  370. Entrust Agencies, LLC, Affiliate of Defendants-Appellees

  371. Entrust Group, Inc., Affiliate of Defendants-Appellees

  372. Entrust, LLC, Affiliate of Defendants-Appellees

  373. Excellus Blue Cross Blue Shield, Defendant-Appellee

  374. Excellus BlueCross BlueShield of New York, Defendant-Appellee

  375. Excellus Health Plan, Inc. d/b/a Excellus BlueCrossBlueShield,

        Defendant-Appellee

  376. Excellus Healthcare, Inc., d/b/a Excellus BlueCross BlueShield,

        Defendant-Appellee

  377. Faegre Baker Daniels LLP, Counsel for Defendants-Appellees

  378. Feinstein, Richard A., Counsel for Plaintiffs-Appellees

  379. Ficaro, James, Counsel for Plaintiffs-Appellees


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USCA11 Case: 22-13051     Document: 122     Date Filed: 12/12/2022   Page: 26 of 109
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  380. First Administrators, Inc., Defendant-Appellee

  381. Fleming, Michael J., Counsel for Plaintiffs-Appellees

  382. Florida Combined Life, Affiliate of Defendants-Appellees

  383. Florida Health Care Plan, Inc., Affiliate of Defendants-Appellees

  384. Freedom Health, Inc., Subsidiary of Defendants-Appellees

  385. Foley & Lardner LLP, Counsel for Defendants-Appellees

  386. Foote, Mielke, Chavez & O’Neil LLC, Counsel for Plaintiffs-Appellees

  387. Foote, Robert M., Counsel for Plaintiffs-Appellees

  388. Forbes Law Group, LLC, Counsel for Plaintiffs-Appellees

  389. Forbes, Frankie J, Counsel for Plaintiffs-Appellees

  390. Forsythe, Debora, Plaintiff-Appellee

  391. Forsythe, Tony, Plaintiff-Appellee

  392. Fort McClellan Credit Union, Plaintiff-Appellee

  393. Fowler, Jeffrey John, Counsel for Defendants-Appellees

  394. Franz, Morgan B., Counsel for Defendants-Appellees

  395. Free State Growers, Inc., Plaintiffs-Appellees

  396. Freedman Boyd Hollander, Counsel for Plaintiffs-Appellees

  397. Fronk, Casey R., Counsel for Defendants-Appellees

  398. Fujichaku, Rex Y., Counsel for Plaintiffs-Appellees

  399. G&S Trailer Repair Inc., Plaintiff-Appellee


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  400. Galactic Funk Touring, Inc., Plaintiff-Appellee

  401. Gankendorff, Edgar D., Counsel for Plaintiffs-Appellees

  402. Garner, Jeffrey S., Plaintiff-Appellee

  403. Gaston CPA Firm, P.C., Plaintiff-Appellee

  404. GC/AAA Fences, Inc., Plaintiff-Appellee

  405. Gebremariam, Helam, Counsel for Defendants-Appellees

  406. Geneia Holdings LLC, Affiliate of Defendants-Appellees

  407. Geneia Insights and Innovations LLC, Affiliate of Defendants-Appellees

  408. Geneia LLC, Affiliate of Defendants-Appellees

  409. Geneia Management Solutions LLC, Affiliate of Defendants-Appellees

  410. Gentle III, Edgar C., Special Master

  411. Giarmarco, Mullins & Horton, P.C., Counsel for Plaintiffs-Appellees

  412. Giglio, Jr., Joseph C., Counsel for Defendants-Appellees

  413. Gilbert, Sarah, Counsel for Defendants-Appellees

  414. Gillis, H. Lewis, Counsel for Plaintiffs-Appellees

  415. Given, Robert S. W., Counsel for Defendants-Appellees

  416. Global TPA, LLC, Subsidiary of Defendants-Appellees

  417. Golden Security Insurance Co., Affiliate of Defendants-Appellees

  418. Golden West Health Plan, Inc., Subsidiary of Defendants-Appellees

  419. Goodin, Janeen, Plaintiff-Appellee


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USCA11 Case: 22-13051     Document: 122     Date Filed: 12/12/2022   Page: 28 of 109
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  420. Goodman, Jason, Plaintiff-Appellee

  421. Goodman, Tom A., Plaintiff-Appellee

  422. Goodsir, David, Counsel for Defendants-Appellees

  423. Gordon Ball Law Office, Counsel for Plaintiffs-Appellees

  424. Gordon Jr., Ben W., Counsel for Plaintiffs-Appellees

  425. Government Management Services, LLC, Affiliate of Defendants-

        Appellees

  426. Grabar Law Office, Counsel for Plaintiffs-Appellees

  427. Grant & Eisenhofer, Counsel for Plaintiffs-Appellees

  428. Greg Davis Law, LLC, Counsel for Plaintiffs-Appellees

  429. Greater Georgia Life Insurance Company, Subsidiary of Defendants-

        Appellees

  430. Green, Cheri D., Counsel for Defendants-Appellees

  431. Greenberg Traurig, PA, Counsel for Defendants-Appellees

  432. Group Hospitalization and Medical Services, Inc., Defendant-Appellee

  433. Group Hospitalization and Medical Services, Inc. d/b/a CareFirst

        BlueCross BlueShield, Defendant-Appellee

  434. Group Insurance Services, Inc., Affiliate of Defendants-Appellees

  435. GuideWell Mutual Holding Corporation, Parent to Defendants-Appellees

  436. Guin, David J., Counsel for Plaintiffs-Appellees


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  437. Guin, Stokes & Evans, LLC, Counsel for Plaintiffs-Appellees

  438. Gustafson Gluek PLLC, Counsel for Plaintiffs-Appellees

  439. Gustafson, Daniel E., Counsel for Plaintiffs-Appellees

  440. Haden, Ed R., Counsel for Defendants-Appellees

  441. Hansen, Chad D., Counsel for Defendants-Appellees

  442. Hare, Scott M., Counsel for Plaintiffs-Appellees

  443. Harrell, J. Wells, Counsel for Plaintiffs-Appellees

  444. Harvalis, Jim, Affiliated with Counsel for Defendants-Appellees

  445. Harwood, Jr., Hon. R. Bernard, Special Master

  446. Hauser, Brian C., Counsel for Defendants-Appellees

  447. Hausfeld LLP, Counsel for Plaintiffs-Appellees

  448. Hausfeld, Michael, Counsel for Plaintiffs-Appellees

  449. Hawaii Medical Service Association d/b/a Blue Cross and Blue Shield of

        Hawaii, Defendant-Appellee

  450. Hawran, Gregory R., Counsel for Defendants-Appellees

  451. Hayes, Lisa N., Counsel for Plaintiffs-Appellees

  452. Hazzard Law, LLC, Counsel for Plaintiffs-Appellees

  453. Hazzard, Brent, Counsel for Plaintiffs-Appellees

  454. Health and Wellness Partners, Inc., Affiliate of Defendants-Appellees

  455. Healthbox Nashville LLC, Affiliate of Defendants-Appellees


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  456. Health Care Service Corporation, Defendant-Appellee

  457. Health Care Service Corporation d/b/a Blue Cross Blue Shield of Illinois,

        Blue Cross Blue Shield of New Mexico, Blue Cross Blue Shield of

        Oklahoma, Blue Cross and Blue Shield of Montana, Blue Cross Blue

        Shield of Texas, Defendant-Appellee

  458. Healthcare Business Solutions, LLC, Affiliate of Defendants-Appellees

  459. HealthKeepers, Inc., Subsidiary of Defendants-Appellees

  460. HealthLink HMO, Inc., Subsidiary of Defendants-Appellees

  461. HealthLink, Inc., Subsidiary of Defendants-Appellees

  462. Healthcare Management Administrators, Inc., Subsidiary of Defendants-

        Appellees

  463. Health Management Corporation, Subsidiary of Defendants-Appellees

  464. HealthNow New York Inc., Defendant-Appellee

  465. HealthNow New York Inc., d/b/a Blue Cross Blue Shield of Western New

        York and Blue Shield of Northeastern New York, Defendant-Appellee

  466. HealthNow Systems, Inc., Defendant-Appellee

  467. Health Options, Inc., Affiliate of Defendants-Appellees

  468. HealthPlus HP, LLC, Subsidiary of Defendants-Appellees

  469. HealthSun Health Plans, Inc., Subsidiary of Defendants-Appellees

  470. Healthy Alliance Life Insurance Company, Defendant-Appellee


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USCA11 Case: 22-13051     Document: 122     Date Filed: 12/12/2022   Page: 31 of 109
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  471. Hedlund, Daniel C., Counsel for Plaintiffs-Appellees

  472. Hellums, Chris T., Counsel for Plaintiffs-Appellees

  473. Hendren & Malone PLLC, Counsel for Plaintiffs-Appellees

  474. Herman, Matthew J., Counsel for Plaintiffs-Appellees

  475. Hess, Hess & Daniel, P.C., Plaintiff-Appellee

  476. Hibbett Retail, Inc., Plaintiff-Appellee

  477. Hibbett Sporting Goods, Inc., Plaintiff-Appellee

  478. Hibbett Inc. (Nasdaq: HIBB), Parent of Plaintiff-Appellee

  479. Highmark Blue Cross and Blue Shield of Delaware, Affiliate of

        Defendants-Appellees

  480. Highmark Blue Cross Blue Shield of Delaware, Inc., Defendant-Appellee

  481. Highmark Blue Cross Blue Shield of West Virginia, Defendant-Appellee

  482. Highmark Health, Parent to Defendants-Appellees

  483. Highmark Health Services, d/b/a Highmark Blue Cross Blue Shield of

        Delaware, Highmark Blue Cross Blue Shield, and Highmark Blue Cross

        Blue Shield of West Virginia, Defendant-Appellee

  484. Highmark Inc., Defendant-Appellee

  485. Highmark West Virgina Inc., Affiliate of Defendants-Appellees

  486. Highway to Health, Inc., Affiliate of Defendants-Appellees




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USCA11 Case: 22-13051     Document: 122    Date Filed: 12/12/2022   Page: 32 of 109
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  487. Hill, Hill, Carter, Franco, Cole, & Black, PC, Counsel for Defendants-

        Appellees

  488. Hill, Angie, Plaintiff-Appellee

  489. Hill, Ross, Plaintiff-Appellee

  490. HMO Colorado, Subsidiary of Defendants-Appellees

  491. HMO Louisiana, Inc., Affiliate of Defendants-Appellees

  492. HMO Missouri Inc., Defendant-Appellee

  493. HMO Missouri, Inc. (Anthem Blue Cross and Blue Shield of Missouri),

        Defendant-Appellee

  494. HMO Partners, Inc., Affiliate of Defendants-Appellees

  495. HMSA BSH, Inc., Affiliate of Defendants-Appellees

  496. HMSA Foundation, Inc., Affiliate of Defendants-Appellees

  497. Hodge, David J., Counsel for Plaintiffs-Appellees

  498. Hofmeister, Dan, Counsel for Defendants-Appellees

  499. Hogan Lovells US LLP, Counsel for Defendants-Appellees

  500. Hogan, E. Desmond, Counsel for Defendants-Appellees

  501. Hogewood, Mark M., Counsel for Defendants-Appellees

  502. Holland & Knight, Counsel for Defendants-Appellees

  503. Holmes, Janet Brooks, Counsel for Plaintiffs-Appellees

  504. Holmstead, Zachary D., Counsel for Defendants-Appellees


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  505. Holton, John R., Counsel for Plaintiffs-Appellees

  506. Holton, Timothy R., Counsel for Plaintiffs-Appellees

  507. Home Depot U.S.A., Inc., Interested Party-Appellant

  508. Homer Law Firm, PC, Counsel for Plaintiffs-Appellees

  509. Hoover, Craig A., Counsel for Defendants-Appellees

  510. Horizon Blue Cross and Blue Shield of New Jersey, Defendant-Appellee

  511. Horizon Blue Cross Blue Shield of New Jersey, Defendant-Appellee

  512. Horizon Casualty Services, Inc., Affiliate of Defendants-Appellees

  513. Horizon Healthcare Dental, Inc., Affiliate of Defendants-Appellees

  514. Horizon Healthcare of New Jersey, Inc. (which also operates under the

        name Horizon NJ Health), Affiliate of Defendants-Appellees

  515. Horizon Healthcare Services, Inc. d/b/a Horizon Blue Cross and

        BlueShield of New Jersey, Defendant-Appellee

  516. Horizon Healthcare Services, Inc. d/b/a Horizon Blue Cross Blue Shield of

        New Jersey, Defendant-Appellee

  517. Horizon Insurance Company, Affiliate of Defendants-Appellees

  518. Horner, Chelsea L., a.k.a. Chelsea Horner Templeton, Plaintiff-Appellee.

  519. Horton, William H., Counsel for Plaintiffs-Appellees

  520. Hospital Service Association of Northeastern Pennsylvania d/b/a Blue

        Cross of Northeastern Pennsylvania, Defendant-Appellee


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  521. Hospital Service Association of Northeastern Pennsylvania d/b/a Blue

        Cross of Northeastern Pennsylvania, Defendant-Appellee

  522. Hume, Hamish P.M., Counsel for Plaintiffs-Appellees

  523. IMA, Inc., Affiliate of Defendants-Appellees

  524. Ichter, Davis, Counsel for Plaintiffs-Appellees

  525. Independence Blue Cross, LLC, Parent to Defendants-Appellees

  526. Independence Health Group Inc., Parent to Defendants-Appellees

  527. Independence Hospital Indemnity Plan, Inc., f/k/a Independence Blue

        Cross, Defendant-Appellee

  528. IngenioRx, Inc., Subsidiary of Defendants-Appellees

  529. Instil Health Insurance Company, Affiliate of Defendants-Appellees

  530. Insua, Nicholas, Counsel for Defendants-Appellees

  531. Integrated Services, Inc., Affiliate of Defendants-Appellees

  532. International Plan Solutions, LLC, Affiliate of Defendants-Appellees

  533. Iron Gate Technology, Inc., Plaintiff-Appellee

  534. Ironshore Inc., Insurer of Defendants-Appellees

  535. Iron-Starr Excess Agency Ltd., Insurer of Defendants-Appellees

  536. Isaacson, William A., Counsel for Plaintiffs-Appellees

  537. Jackson, Anthony F., Counsel for Plaintiff-Appellee

  538. James Hoyer, P.A., Plaintiff-Appellee


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  539. Jameson, Joel, Plaintiffs-Appellees

  540. Jenks and Associates, Counsel for Plaintiffs-Appellees

  541. Jenks III, James K., Counsel for Plaintiffs-Appellees

  542. Jenner & Block LLP, Counsel for Defendants-Appellees

  543. Jewelers Trade Shop, Plaintiff-Appellee

  544. John D. Saxon, P.C., Counsel for Plaintiffs-Appellees

  545. Johnson, John M., Counsel for Defendants-Appellees

  546. Johnston, Clint, Plaintiff-Appellee

  547. Jones & Swartz PLLC, Counsel for Plaintiffs-Appellees

  548. Jones Ward PLC, Counsel for Plaintiffs-Appellees

  549. Jones, Bruce C., Counsel for Plaintiffs-Appellees

  550. Jones, Lawrence, Counsel for Plaintiffs-Appellees

  551. Jones, Megan, Counsel for Plaintiffs-Appellees

  552. Jose, Elizabeth, Counsel for Defendants-Appellees

  553. Kalisky, Alyssa C., Counsel for Defendants-Appellees

  554. Kapke & Willerth LLC, Counsel for Plaintiffs-Appellees

  555. Kaplan, Andrew D., Counsel for Defendants-Appellees

  556. Kappel, Brian P., Counsel for Defendants-Appellees

  557. Kaufman, R. David, Counsel for Defendants-Appellees

  558. Kaufman Borgeest & Ryan LLP, Counsel for Insurer


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  559. Kellner, William E., Counsel for Defendants-Appellees

  560. Kelso, Trent, Plaintiff-Appellee

  561. Kennedy, Lauren R., Counsel for Defendants-Appellees

  562. Kenney, Jeannine M., Counsel for Plaintiffs-Appellees

  563. Keystone Health Plan Central, Inc., Affiliate of Defendants-Appellees

  564. Keystone Medical Imaging, LLC, Affiliate of Defendants-Appellees

  565. Kilene, Jason S., Counsel for Plaintiffs-Appellees

  566. Kilpatrick Townsend & Stockton LLP, Counsel for Defendants-Appellees

  567. Kilpela, Jr., Edwin, J., Counsel for Plaintiffs-Appellees

  568. Kimble, Cavender C., Counsel for Defendants-Appellees

  569. Kirk, Michael, Counsel for Plaintiffs-Appellees

  570. Kirkland & Ellis LLP, Counsel for Defendants-Appellees

  571. Knapp, Scott R., Counsel for Defendants-Appellees

  572. Knott, Jason M., Counsel for Plaintiffs-Appellees

  573. Koch, H. James, Counsel for Defendants-Appellees

  574. Kochanowski, Andrew J., Counsel for Plaintiffs-Appellees

  575. Korn, David H., Counsel for Defendants-Appellees

  576. Kravitz, Carl S., Counsel for Plaintiffs-Appellees

  577. Krieger, Mark, Plaintiff-Appellee

  578. Kudulis, Johnathan, Counsel for Plaintiffs-Appellees


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  579. Kudulis, Resisinger, & Price, Counsel for Plaintiffs-Appellees

  580. Labauve, Elizabeth Barnett, Counsel for Defendants-Appellees

  581. Lambert, Kenneth, Counsel for Defendants-Appellees

  582. Langston & Lott, P.A., Counsel for Plaintiffs-Appellees

  583. Law Office of Stephen M. Hansen, Counsel for Plaintiffs-Appellees

  584. Laytin, P.C., Daniel E., Counsel for Defendants-Appellees

  585. Lemmon Law Firm, Counsel for Plaintiffs-Appellees

  586. Lemmon, Andrew, Counsel for Plaintiffs-Appellees

  587. Levin Papantonio Thomas Mitchell Rafferty & Proctor, P.A., Counsel for

        Plaintiffs-Appellees

  588. Lieberman, Michael W., Counsel for Defendants-Appellees

  589. LifeMap Assurance Company, Subsidiary of Defendants-Appellees

  590. Life Secure Insurance Company Holdings, Affiliate of Defendants-

        Appellees

  591. Lifetime Healthcare, Inc., Defendant-Appellee

  592. Lightfoot Franklin & White LL, Counsel for Defendants-Appellees

  593. Liskow & Lewis, Counsel for Plaintiffs-Appellees

  594. Lite Depalma Greenberg & Afanador, LLC, Counsel for Plaintiffs-

        Appellees

  595. Little, Jonathan Charles - Counsel for Plaintiffs-Appellees


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  596. Lloyd’s of London, Insurer of Defendants-Appellees

  597. Lockard & Williams Insurance Services, Inc., Affiliate of Defendants-

        Appellees

  598. Lockridge Grindal Nauen P.L.L.P, Counsel for Plaintiffs-Appellees

  599. London ACE, Insurer of Defendants-Appellees

  600. Lott, Casey Langston, Counsel for Plaintiffs-Appellees

  601. Louisiana Health Service & Indemnity Company d/b/a Blue Cross and

        Blue Shield of Louisiana, Defendant-Appellee

  602. Lovell & Nalley, Counsel for Plaintiffs-Appellees

  603. Lowrey, IV, Frank M., Counsel for Interested Party-Appellant

  604. Lydian, LLC, Affiliate of Defendants-Appellees

  605. Lytle, Joann, Counsel for Defendants-Appellees

  606. Macrae, Amy, Plaintiff-Appellee

  607. Maier, Jeny M., Counsel for Defendants-Appellees

  608. Malatesta, III, John Thomas A., Counsel for Defendants-Appellees

  609. Malone, J. Michael, Counsel for Plaintiffs-Appellees

  610. Mandel and Mandel, LLP, Counsel for Plaintiffs-Appellees

  611. Mann, Jonathan S., Counsel for Plaintiffs-Appellees

  612. Marino Law, PLLC, Counsel for Plaintiffs-Appellees

  613. Mark W. Wasvery, PC, Counsel for Defendants-Appellees


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  614. Marshall III, Charles F., Counsel for Defendants-Appellees

  615. Martin, John D., Counsel for Defendants-Appellees

  616. Martin, Scott Allen, Counsel for Plaintiffs-Appellees

  617. Martinez, Jr., Esq., Elio F., Counsel for Defendants-Appellees

  618. Massachusetts Benefit Administrators, LLC, Affiliate of Defendants-

        Appellees

  619. Mathias, John, Counsel for Defendants-Appellees

  620. Matthew Thornton Health Plan, Inc., Subsidiary of Defendants-Appellees

  621. Maynard Cooper & Gale PC, Counsel for Defendants-Appellees

  622. McCafee & Taft, P.C., Counsel for Interested Party-Appellant

  623. McCallum, Methvin & Terrell, PC, Counsel for Plaintiffs-Appellees

  624. McCallum, Phillip W., Counsel for Plaintiffs-Appellees

  625. McCarter & English, LLP, Counsel for Defendants-Appellees

  626. McDevitt, Larry, Counsel for Plaintiffs-Appellees

  627. McDonald, Yawanna N., Counsel for Defendants-Appellees

  628. McDonough, James C., Counsel for Plaintiffs-Appellees

  629. McDowell, M. Patrick, Counsel for Defendants-Appellees

  630. McGartland & Borchardt LLP, Counsel for Plaintiffs-Appellees

  631. McGartland, Michael, Counsel for Plaintiffs-Appellees

  632. McGartland Law Firm, PLLC, Counsel for Plaintiffs-Appellees


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  633. McGill, Brian, Plaintiff-Appellee

  634. McGill, Rochelle, Plaintiff-Appellee

  635. McKane, Mark E., Counsel for Defendants-Appellees

  636. McKay Cauthen Settana and Stubley, Counsel for Plaintiffs-Appellees

  637. McLean, Ronald H., Counsel for Defendants-Appellees

  638. McLeod, Aaron G., Counsel for Defendants-Appellees

  639. MCS Holdings, Inc., Affiliate of Defendants-Appellees

  640. Means Gillis Law, LLC, Counsel for Plaintiffs-Appellees

  641. Medical Helpline, LLC, Affiliate of Defendants-Appellees

  642. Medrisk Actuarial Services, LLC, Affiliate of Defendants-Appellees

  643. Meierhenry Sargent LLP, Counsel for Plaintiffs-Appellees

  644. Menge, Mary G., Counsel for Defendants-Appellees

  645. Meridian Resources Company, LLC, Subsidiary of Defendants-Appellees

  646. Meriwether, Ellen, Counsel for Plaintiffs-Appellees

  647. Methvin, Terrell, Yancy, Stephens & Miller, P.C., Counsel for Plaintiffs-

        Appellees

  648. Methvin, Jr., Robert G., Counsel for Plaintiffs-Appellees

  649. Meyers, D. Kent, Counsel for Defendants-Appellees

  650. Midwest Benefit Consultants, Inc., Defendant-Appellee

  651. Mills, Linda, Plaintiff-Appellee


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  652. Montis, Inc., Plaintiff-Appellee

  653. Morris, King & Hodge, Counsel for Plaintiffs-Appellees

  654. Morris, Scott A., Plaintiff-Appellee

  655. Mosaic Group Services, LLC, Affiliate of Defendants-Appellees

  656. Moylan, Daniel Patrick, Counsel for Plaintiffs-Appellees

  657. Murphy & Murphy LLC, Counsel for Plaintiffs-Appellees

  658. Murphy, Erin E., Counsel for Defendants-Appellees

  659. Murphy, Michael L., Counsel for Plaintiffs-Appellees

  660. My Care Alabama, Inc., Affiliate of Defendants-Appellees

  661. Nalley, John Doyle, Counsel for Plaintiffs-Appellees

  662. Naranjo, Michael A., Counsel for Defendants-Appellees

  663. Nast, Dianne M., Counsel for Plaintiffs-Appellees

  664. NastLaw LLC, Counsel for Plaintiffs-Appellees

  665. NDBH Holding Company, LLC, Affiliate of Defendants-Appellees

  666. Nelson Mullins Riley & Scarborough LLP, Counsel for Defendants-

        Appellees

  667. Nelson, Christopher, Counsel for Plaintiffs-Appellees

  668. Netting, Irma L., Counsel for Plaintiffs-Appellees

  669. New Directions Behavioral Health, LLC, Affiliate of Defendants-Appellees




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USCA11 Case: 22-13051     Document: 122    Date Filed: 12/12/2022   Page: 42 of 109
         No. 22-13051, In re: Blue Cross Blue Shield Antitrust Litigation

  670. Niagara Life and Health Insurance Company, Affiliate of Defendants-

        Appellees

  671. Nix, Jess R., Counsel for Defendants-Appellees

  672. Nix, Richard D., Counsel for Interested Party-Appellant

  673. NobleHealth, Inc., Affiliate of Defendants-Appellees

  674. Nordin, Daniel J., Counsel for Plaintiffs-Appellees

  675. Noridian Mutual Insurance Company, d/b/a Blue Cross Blue Shield of

        North Dakota, Defendant-Appellee

  676. Norman, Brian K., Counsel for Defendants-Appellees

  677. Nyemaster Goode PC, Counsel for Defendants-Appellees

  678. O’Brien, Charles A., Counsel for Defendants-Appellees

  679. O’Connell, Sean T., Counsel for Plaintiffs-Appellees

  680. Ogletree Deakins Nash Smoak & Stewart PC, Counsel for Defendants-

        Appellees

  681. O’Melveny & Myers LLP, Counsel for Defendants-Appellees

  682. OneBeacon Insurance Group (including Atlantic Specialty Insurance

        Company and Homeland Insurance Company), Insurer of Defendants-

        Appellees

  683. Onlife Health, Inc., Affiliate of Defendants-Appellees

  684. Optimum Healthcare, Inc., Subsidiary of Defendants-Appellees


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  685. PGBA, LLC, Affiliate of Defendants-Appellees

  686. Page, Edwin Allen, Counsel for Interested Party-Appellant

  687. Palmer, Tim A., Counsel for Defendants-Appellees

  688. Palmetto GBA, LLC, Affiliate of Defendants-Appellees

  689. Paul Weiss Rifkind Wharton – Counsel for Plaintiffs-Appellees

  690. Payne, Joshua K., Counsel for Defendants-Appellees

  691. Payton, Gwendolyn C., Counsel for Defendants-Appellees

  692. PCS, LLC, Affiliate of Defendants-Appellees

  693. Pearce, Bevill, Leesburg, Moore, P.C., Plaintiff-Appellee

  694. Pendley, Baudin & Coffin LLP, Counsel for Plaintiffs-Appellees

  695. Pendley, Patrick W., Counsel for Plaintiffs-Appellees

  696. Penney, Brant, Counsel for Plaintiffs-Appellees

  697. Pennington, Michael R., Counsel for Interested Party-Appellant

  698. Perlman, Alan J., Counsel for Defendants-Appellees

  699. Pete Moore Chevrolet, Inc., Plaintiff-Appellee

  700. Peterson, Rebecca, Counsel for Plaintiffs-Appellees

  701. Pettus Plumbing & Piping, Inc, Plaintiff-Appellee

  702. Pham, Allison N., Counsel for Defendants-Appellees

  703. Phillips Lytle LLP, Counsel for Defendants-Appellees

  704. Physicians’ Service, d/b/a Blue Shield of California, Defendant-Appellee


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  705. Piercy, Deborah, Plaintiff-Appellee

  706. Pioneer Farm Equipment, Inc., Plaintiff-Appellee

  707. Pittman Dutton Hellums, Bradley and Mann, P.C., Counsel for Plaintiffs-

        Appellees

  708. Planned Administrators, Inc., Affiliate of Defendants-Appellees

  709. Pollack-Avery, Elizabeth, Counsel for Plaintiffs-Appellees

  710. Preferred Care Services, Inc., Affiliate of Defendants-Appellees

  711. Premara Blue Cross of Washington, Defendant-Appellee

  712. Premara, d/b/a Premara Blue Cross Blue Shield of Alaska, Defendant-

        Appellee

  713. Premera Blue Cross, d/b/a Premera Blue Cross Blue Shield of Alaska,

        Defendant-Appellee

  714. Priester, James L., Counsel for Defendants-Appellees

  715. Prime Therapeutics, LLC, Affiliate of Defendants-Appellees

  716. Proctor, Hon. R. David (N.D. Ala.)

  717. Provosty & Gankendorff, LLC, Counsel for Plaintiffs-Appellees

  718. Putnam, Hon. T. Michael (N.D. Ala.)

  719. Quinlan, Patrick J., Counsel for Plaintiffs-Appellees

  720. Quinn, Connor, Weaver, Davies & Ruoco LLP, Counsel for Plaintiffs-

        Appellees


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  721. Ragsdale, Barry A., Plaintiffs’ Liaison Counsel

  722. Redgrave, Jonathan M., Counsel for Defendants-Appellees

  723. Redgrave, LLP, Counsel for Defendants-Appellees

  724. Redgrave, Victoria A., Counsel for Defendants-Appellees

  725. Reed Smith LLP, Counsel for Defendants-Appellees

  726. Reeves, Harold S., Counsel for Plaintiffs-Appellees

  727. Regence BlueCross BlueShield of Oregon, Defendant-Appellee

  728. 728. Regence BlueCross BlueShield of Utah, Defendant-Appellee

  729. 729. Regence BlueShield, Defendant-Appellee

  730. 730. Regence BlueShield of Idaho, Inc., Defendant-Appellee

  731. Regence Insurance Holding Corporation, Subsidiary of Defendants-

        Appellees

  732. Reichard & Escalera, LLC, Counsel for Defendants-Appellees

  733. Reinhardt, Wendorf & Blanchfield, Counsel for Plaintiffs-Appellees

  734. Reis, John, Counsel for Defendants-Appellees

  735. Reuben, Mindee, Counsel for Plaintiffs-Appellees

  736. Resolution Health, Inc., Subsidiary of Defendants-Appellees

  737. Rheaume, Jr., Thomas J., Counsel for Defendants-Appellees

  738. Rhodes IV, C. Harker, Counsel for Defendants-Appellees

  739. Richie, John Thomas, Counsel for Interested Party-Appellant


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  740. Rico, Gustavo A. Pabón, Counsel for Defendants-Appellees

  741. Riebel, Karen Hanson, Counsel for Plaintiffs-Appellees

  742. RightChoice Managed Care, Inc., Defendant-Appellee

  743. Riley & Jackson, PC, Counsel for Defendants-Appellees

  744. Riley, Jr., Robert R., Counsel for Defendants-Appellees

  745. Riverbend Govt. Benefits Administrator, Inc., Affiliate of Defendants-

        Appellees

  746. RiverTrust Solutions, Inc., Affiliate of Defendants-Appellees

  747. RLI/RSUI, Insurer of Defendants-Appellees

  748. Roach, Benjamin Patrick, Counsel for Defendants-Appellees

  749. Robertson, John Robert, Counsel for Defendants-Appellees

  750. Robinovitch, Hart L., Counsel for Plaintiffs-Appellees

  751. Robinson, Kenneth J., Counsel for Plaintiffs-Appellees

  752. Rockforte, Nicholas R., Counsel for Plaintiffs-Appellees

  753. Rocky Mountain Hospital & Medical Service Inc., d/b/a Anthem Blue

        Cross Blue Shield of Colorado, Defendant-Appellee

  754. Rocky Mountain Hospital & Medical Service Inc., d/b/a Anthem Blue

        Cross Blue Shield of Nevada, Defendant-Appellee

  755. Rodanast, P.C., Counsel for Plaintiffs-Appellees

  756. Rodríguez, Rafael Escalera, Counsel for Defendants-Appellees


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  757. Rolison Trucking Co., LLC, Plaintiff-Appellee

  758. Roman, Tracy A., Counsel for Defendants-Appellees

  759. Ross, April N., Counsel for Defendants-Appellees

  760. Rouco, Richard, Counsel for Plaintiffs-Appellees

  761. Rowe, Stephen A., Counsel for Defendants-Appellees

  762. Rutenberg, Alan D., Counsel for Defendants-Appellees

  763. Ruzic, Emily Myers, Counsel for Interested Party-Appellant

  764. Rx Concepts, Ltd. Co., Affiliate of Defendants-Appellees

  765. Saccoccio & Lopez, Plaintiff-Appellee

  766. Sadler Electric, Plaintiff-Appellee

  767. Saeed & Little, LLP, Counsel for Plaintiffs-Appellees

  768. Salomon, Anne, Counsel for Defendants-Appellees

  769. Sansbury, Michael T., Counsel for Defendants-Appellees

  770. Sargent, Clint, Counsel for Plaintiffs-Appellees

  771. Saxon, John, Counsel for Plaintiffs-Appellees

  772. Scheller, Kathryn, Plaintiff-Appellee

  773. Schmidt, Jr., John G., Counsel for Defendants-Appellees

  774. Schneider, Sydney L., Counsel for Defendants-Appellees

  775. Schwiep, Paul J., Counsel for Defendants-Appellees

  776. Scott & Cain, Counsel for Plaintiffs-Appellees


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  777. Scott Jr., Thomas S., Counsel for Plaintiffs-Appellees

  778. Scott, Lee McArthur, Counsel for Plaintiffs-Appellees

  779. SecurityCare of Tennessee, Inc., Affiliate of Defendants-Appellees

  780. Self Insured Plans, LLC, Affiliate of Defendants-Appellees

  781. Serkland Law Firm, Counsel for Defendants-Appellees

  782. Shaheen & Gordon, P.A., Counsel for Plaintiffs-Appellees

  783. Shamoun & Norman, LLP, Counsel for Defendants-Appellees

  784. Shared Health, Inc., Affiliate of Defendants-Appellees

  785. Sharo Law, LLP, Counsel for Plaintiffs-Appellees

  786. Sharp Law, LLP

  787. Sharp, Marla S., Plaintiff-Appellee

  788. Shaw, Adam R., Counsel for Plaintiffs-Appellees

  789. Shearman & Sterling LLP, Counsel for Defendants-Appellees

  790. Sheppard, Mullin, Richter & Hampton LLP, Counsel for Insurer

  791. Sheridan, Judy, Plaintiff-Appellee

  792. Simply Healthcare Plans, Inc., Subsidiary of Defendants-Appellees

  793. Sirocco, Inc., Plaintiff-Appellee

  794. Slate, Pamela B., Counsel for Defendants-Appellees

  795. Small, Daniel, Counsel for Plaintiffs-Appellees

  796. Smith, Scott Burnett, Counsel for Interested Party-Appellant


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  798. Socios Mayores en Salud Holdings, Inc., d/b/a Triple-S Advantage,

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  799. Sommers Schwartz PC, Counsel for Plaintiffs-Appellees

  800. Sooy, Kathleen Taylor, Counsel for Defendants-Appellees

  801. Sompo International, Insurer of Defendants-Appellees

  802. Southeast Services, Inc., Subsidiary of Defendants-Appellees

  803. Southern Diversified Business Services, Inc., Affiliate of Defendants-

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  804. Southern Health Plan, Inc., Affiliate of Defendants-Appellees

  805. Spenser, Mark D., Counsel for Interested Party-Appellant

  806. Spotswood Sansom & Sansbury LLC, Counsel for Defendants-Appellees

  807. Spotswood, Robert K., Counsel for Defendants-Appellees

  808. Stark, Michael E., Plaintiff-Appellee

  809. Stecker, Brett, Counsel for Plaintiffs-Appellees

  810. Stenerson, Todd, Counsel for Defendants-Appellees

  811. Stetson, Catherine E., Counsel for Defendants-Appellees

  812. Stokes, Tammy, Counsel for Plaintiffs-Appellees

  813. Stone & Magnanini LLP, Counsel for Plaintiffs-Appellees

  814. Stone Law Firm, LLC, Counsel for Plaintiffs-Appellees


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  815. Stone, Andrew M., Counsel for Plaintiffs-Appellees

  816. Stone, David, Counsel for Plaintiffs-Appellees

  817. Stoops, Kevin J., Counsel for Plaintiffs-Appellees

  818. Strauss & Boies LLP, Counsel for Plaintiffs-Appellees

  819. Strutt, Jennifer, Counsel for Defendants-Appellees

  820. Sudekum, Michael J., Counsel for Plaintiffs-Appellees

  821. Swank, Ami, Counsel for Plaintiffs-Appellees

  822. Swartz, Eric B., Counsel for Plaintiffs-Appellees

  823. Sweeris, Charles L., Counsel for Defendants-Appellees

  824. The Sweet Law Firm, PC Counsel for Plaintiffs-Appellees

  825. Sweet, Benjamin, Counsel for Plaintiffs-Appellees

  826. Taylor, Jr., Daniel R., Counsel for Defendants-Appellees

  827. Templeton, Quentin, Counsel for Plaintiffs-Appellees

  828. Tennessee Health Foundation, Inc., Affiliate of Defendants-Appellees

  829. Terrell, James M., Counsel for Plaintiffs-Appellees

  830. Tessellate Holdings, LLC, Affiliate of Defendants-Appellees

  831. Tessier, Kevin, Counsel for Defendants-Appellees

  832. The Caring Foundation, Affiliate of Defendants-Appellees

  833. The Cowan Law Firm, Counsel for Plaintiffs-Appellees

  834. The Dampier Law Firm PC, Counsel for Plaintiffs-Appellees


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  835. The Van Winkle Law Firm, Counsel for Plaintiffs-Appellees

  836. The Weiser Law Firm, P.C., Counsel for Plaintiffs-Appellees

  837. Thomas Cooper & Co., Inc., Affiliate of Defendants-Appellees

  838. Thomas, Nancy, Plaintiff-Appellee

  839. Thompson, Charles M., Counsel for Plaintiffs-Appellees

  840. Thompson, Jason, Counsel for Plaintiffs-Appellees

  841. Thompson, John G., Plaintiff-Appellee

  842. Tomazzoli, Lisa, Plaintiff-Appellee

  843. Topographic, Inc., Interested Party-Appellant

  844. Total Dental Administrators Health Plan, Inc., Affiliate of Defendants-

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  845. Total Dental Administrators of Utah, Inc., Affiliate of Defendants-

        Appellees

  846. Total Dental Administrators, Inc., Affiliate of Defendants-Appellees

  847. TrailBlazer Health Enterprises, LLC, Affiliate of Defendants-Appellees

  848. The Travelers Companies, Inc. (TRV), Insurer of Defendants-Appellees

  849. Tri-West, Affiliate of Defendants-Appellees

  850. Tricenturion, Inc., Affiliate of Defendants-Appellees

  851. Trinnovate Ventures, Inc., Affiliate of Defendants-Appellees




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        Defendants-Appellees

  853. Triple-S Management Corporation, Parent to Defendants-Appellees

  854. Triple-S Propiedad, Inc., Affiliate of Defendants-Appellees

  855. Triple-S Salud, Defendant-Appellee

  856. Triple-S Salud, Inc., Defendant-Appellee

  857. Triple-S Vida, Inc., Affiliate of Defendants-Appellees

  858. Turner, Ashley, Counsel for Defendants-Appellees

  859. Tyner, Star Mishkel, Counsel for Plaintiffs-Appellees

  860. UNICARE Health Plan of West Virginia, Inc., Subsidiary of Defendants-

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  861. UniCare Life & Health Insurance Company, Subsidiary of Defendants-

        Appellees

  862. UNICARE National Services, Inc., Subsidiary of Defendants-Appellees

  863. UniCare Specialty Services, Inc., Subsidiary of Defendants-Appellees

  864. Umatilla Properties, LLC (Parent Corp of Recovery Village at Umatilla,

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  865. USAble Mutual Insurance Company, d/b/a Arkansas Blue Cross and Blue

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  866. UTIC Insurance Company, Affiliate of Defendants-Appellees


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  867. Utsey, Jeff, Counsel for Plaintiffs-Appellees

  868. Utsey Law Firm, Counsel for Plaintiff-Appellee

  869. Van Winkle Law Firm, Counsel for Plaintiffs-Appellees

  870. Van Zant, Jennifer K., Counsel for Defendants-Appellees

  871. Vardas, Angel (Foster), Plaintiff-Appellee

  872. Varney, Christine, Counsel for Defendants-Appellees

  873. Vaughan Pools, Inc., Plaintiff-Appellee

  874. Vermont Health Plan LLC, Affiliate of Defendants-Appellees

  875. VHP Insurance Solutions, LLC, Affiliate of Defendants-Appellees

  876. Vibra Health Plan Holdings, LLC, Affiliate of Defendants-Appellees

  877. Vibra Health Plan, Inc., Affiliate of Defendants-Appellees

  878. Visiant Holdings Inc., Affiliate of Defendants-Appellees

  879. Voegele, Jonathan R., Counsel for Plaintiffs-Appellees

  880. Volunteer State Health Plan, Inc., Affiliate of Defendants-Appellees

  881. Wallace, Jordan, Ratliff & Brandt, LLC, Counsel for Defendants-

        Appellees

  882. Walsh, Stephen A., Counsel for Defendants-Appellees

  883. Wasvary, Mark K., Counsel for Plaintiffs-Appellees

  884. Watkins, Charles R, Counsel for Plaintiffs-Appellees

  885. Watts, Brett, Plaintiff-Appellee


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  886. Weiser, Robert, Counsel for Plaintiffs-Appellees

  887. Weiser Law Firm, P.C., Counsel for Plaintiffs-Appellees

  888. Wellmark Blue Cross and Blue Shield of Iowa, Defendant-Appellee

  889. Wellmark Blue Cross and Blue Shield of South Dakota, Defendant-

        Appellee

  890. Wellmark Health Plan of Iowa, Inc., Defendant-Appellee

  891. Wellmark Holdings, Inc., Defendant-Appellee

  892. Wellmark Inc. d/b/a Wellmark Blue Cross and Blue Shield of Iowa and

        Wellmark Health Plan of Iowa, Inc., Defendant-Appellee

  893. Wellmark of South Dakota, Inc. d/b/a Wellmark Blue Cross and Blue

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  894. Wellmark Synergy Health, Inc., Affiliate of Defendants-Appellees

  895. Wellmark Value Health Plan, Inc., Affiliate of Defendants-Appellees

  896. Wellmark, Inc. d/b/a Blue Cross and Blue Shield of Iowa, Defendant-

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  897. Wellmark, Inc. d/b/a Blue Cross and Blue Shield of Iowa and Wellmark

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  898. WellPoint California Services, Inc., Subsidiary of Defendants-Appellees

  899. WellPoint Dental Services, Inc., Subsidiary of Defendants-Appellees

  900. WellPoint Holding Corp., Subsidiary of Defendants-Appellees


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  901. WellPoint, Inc., Defendant-Appellee

  902. WellPoint Information Technology Services, Inc., Subsidiary of

        Defendants-Appellees

  903. West, Kimberly R., Counsel for Defendants-Appellees

  904. Whitfield Bryson & Mason, LLP, Counsel for Plaintiffs-Appellees

  905. Wilkerson, David M., Counsel for Plaintiffs-Appellees

  906. Williams, Jennifer, Counsel for Plaintiffs-Appellees

  907. Williams, Jr., James T., Counsel for Defendants-Appellees

  908. Wisconsin Collaborative Insurance Company, Subsidiary of Defendants-

        Appellees

  909. Witt, P.C., Helen E., Counsel for Defendants-Appellees

  910. Wolfla, Paul A., Counsel for Defendants-Appellees

  911. Woodward Straits Insurance Company, Affiliate of Defendants-Appellees

  912. Wright, Greg, Counsel for Plaintiffs-Appellees

  913. Wylie, John R., Counsel for Plaintiffs-Appellees

  914. XL Group Ltd., Insurer of Defendants-Appellees

  915. XL Catlin, Insurer of Defendants-Appellees

  916. Yancey, Perry Michael, Counsel for Plaintiffs-Appellees

  917. Yinger, Emily M., Counsel for Defendants-Appellees

  918. Young, Lance C., Counsel for Plaintiffs-Appellees


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  919. Yuhl Carr, LLP Counsel for Plaintiffs-Appellees

  920. Zeiger, P.C., Jeffrey J., Counsel for Defendants-Appellees

  921. Zimmerman Reed, PLLP, Counsel for Plaintiffs-Appellees

  922. Zimmerman, Genevieve M., Counsel for Plaintiffs-Appellees

  923. Zolner, Erica B., Counsel for Defendants-Appellees

  924. Zott, P.C., David J., Counsel for Defendants-Appellees

  925. Zuckerman Spaeder LLP, Counsel for Plaintiffs-Appellees

  926. Zuger, Peter W., Counsel for Defendants-Appellees

  927. Zurich Insurance Group Ltd., Insurer of Defendants-Appellees




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             STATEMENT REGARDING ORAL ARGUMENT

      Appellant submits that the legal arguments presented in the briefs and record

are sufficiently complex such that the Court’s decisional process will be aided by

oral argument.




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                       JURISDICTIONAL STATEMENT

      The District Court and the federal district courts in which the subscriber

track cases were originally filed had federal question jurisdiction pursuant to 28

U.S.C. §§ 1331 and 1337(a). Plaintiffs brought their claims under Sections 4 and

16 of the Clayton Act, 15 U.S.C. §§ 15 and 26, to obtain injunctive relief and

recover treble damages and costs of suit, including reasonable attorneys’ fees,

against the Individual Blue Plans and BCBSA for the injuries sustained by

Plaintiffs and the Classes by reason of alleged violations of §§1 and 3 of the

Sherman Act, 15 U.S.C. §§ 1 ad 3.            (Subscriber Track Fourth Amended

Consolidated Class Action Complaint (“Complaint”) (Doc. 2616 at p. 10, ¶ 13.)

      This Court has jurisdiction over the District Court’s order awarding

attorneys’ fees under 28 U.S.C. § 1291 because it is a final judgment of the District

Court. The District Court entered on August 9, 2022 the (1) Final Order and

Judgment Granting Approval of Subscriber Class Action Settlement and

Approving Settlement Administrator (“Final Order”) (Doc. 2931.) and (2) Order

Awarding Subscriber Plaintiffs’ Counsel Attorneys’ Fees and Expenses (“Fee

Order”). (Doc. 2932.) Appellant timely filed on September 8, 2022, his Notice of

Appeal. (Doc. 2944.)




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                         STATEMENT OF THE ISSUES

      This litigation was commenced more than ten years ago and involves the

consolidation into Multi-District Litigation of more than 40 actions alleging

violations of antitrust statutes.   The cases were organized into two tracks –

subscriber track and provider track. The subscriber track has settled. The provider

track has not settled.

      In the subscriber track settlement, the District Court awarded $626,583,372

in attorneys’ fees in a settlement whereby Defendants paid to the Class

$2,670,000,000 cash monetary relief in addition to the acceptance of non-monetary

injunctive relief featuring changes to Defendants’ business practices. The District

Court accepted unchanged Plaintiffs’ Counsel’s requested percentage-of-fund fee

of 23.5%, rejecting Appellant’s arguments as to application of lodestar fee

calculations and the unreasonableness of the 23.5% percentage-of-fund requested.

      The issues presented are:

      1. Did the District Court abuse its discretion by failing to isolate and treat

          separately the very significant attorneys’ billings related to injunctive

          relief as part of assessing for reasonableness the requested attorneys’ fees

          of $626,583,372?




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     2. Did the District Court abuse its discretion by failing to resolve

        inconsistent and conflicting provisions in the Settlement Agreement

        surrounding the legal doctrines underpinning calculation of attorneys’

        fees?

     3. Did the District Court err by relying on a faulty metric as part of finding

        reasonable Plaintiffs’ Counsel’s attorneys’ fee request?

     4. Did the District Court make legal and factual errors in its review of the

        Johnson factors and Camden I factors that caused it to improperly find

        that 23.5% was a reasonable percentage-of-fund attorneys’ fee?




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                           STATEMENT OF THE CASE

       This litigation involves the consolidation into multi-district litigation (MDL

No. 2406) of more than 40 actions by Subscriber Plaintiffs against the Blue Cross

and Blue Shield Association (“BCBSA”) and its member plans (“Member Plans”)

(collectively, “Defendants”).

       Subscriber Plaintiffs brought their claims under Sections 4 and 16 of the

Clayton Act, 15 U.S.C. §§ 15 and 26, to obtain injunctive relief and recover treble

damages and costs of suit, including reasonable attorneys’ fees, against the

Individual Blue Plans and BCBSA for injuries sustained by Plaintiffs and the

Classes by reason of alleged violations of §§1 and 3 of the Sherman Act, 15 U.S.C.

§§ 1 and 3.      (Subscriber Track Fourth Amended Consolidated Class Action

Complaint, Doc. 2616 at p. 10, ¶ 13.)

       Subscriber Plaintiffs alleged that Defendants entered into an unlawful

agreement that restrained competition in selling health insurance and the

administration of commercial health products in the United States and its

territories. (Final Order at p. 2, Doc. 2931.)

       The parties began settlement discussions in 2015. (Final Order at p. 3, Doc.

2931.) Sometime in 2019 the parties reached an agreement on proposed injunctive

relief. (Id.)   After agreeing to the injunctive relief, the parties addressed financial

relief. (Id.) The parties later agreed on monetary relief for the class. (Id.)
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      In November 2019, an agreement was reached on a full term sheet between

Subscriber Plaintiffs and Self-Funded Sub-Class Counsel as to the equitable

allocation of the Net Settlement Fund among fully insured Class Members and the

Self-Funded Sub-Class. (Id. at p. 4)

      On October 16, 2020, the parties entered into a Settlement Agreement (Doc.

2610-2) to resolve Subscriber Plaintiffs’ class wide claims. (Id. at p. 5.) The

Settlement Agreement required Defendants to pay $2,670,000,000 in settlement of

the Class’ damage claims; to fund the Notice and Administration Fund

($100,000,000), as well as up to $7 million to “reimburse plaintiffs’ counsel’s

actual and reasonable fees and expenses incurred for Notice and Administration”

(Doc. 2610-2 ¶ 28(h)) and costs of monitoring (Doc. 2610-2 ¶ 21); and to pay

Plaintiffs’ Counsel’s fees and expenses not exceeding 25% ($667,500,000) of the

Settlement Amount (Doc. 2610-2 ¶ 28). (Id. at p. 10.)

      The Settlement Agreement also included injunctive relief provisions in the

form of structural changes to Defendants’ practices for a period of five years

following the entry of judgment approving the settlement. (Id. at p. 11.) The

injunctive relief is designed to provide additional relief to the Class by creating

more competition in the market for health insurance. (Id.) Among other things,

Defendants’ agreement to the settlement was contingent on Plaintiffs’ Counsel’s



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fees and expenses not exceeding 25% of the monetary relief (a “clear sailing”

agreement).1 (Id. at p. 10.)

      On November 30, 2020, the District Court entered its Memorandum Opinion

and Order Preliminarily Approving Settlement, Plan of Distribution, and Notice

Plan, and Directing Notice to the Class (“Prelim. Order”) (Doc. 2641.)

      Within 30 days of entry of the Prelim. Order, Defendants were scheduled to

deposit into an escrow account (1) $100,000,000 for the Notice and Administration

Fund and (2) $300,000,000 to fund in December 2020 a $75,000,000 fee-shifting

payment to Plaintiffs’ Counsel for attorneys’ fees, expenses and interest.

(Settlement Agreement at p. 36, ¶ 23, Doc. 2610-2.) The Settling Defendants

were scheduled to deposit into interest-bearing accounts within 30 days of the

Final Order the remaining balance of the Settlement Amount. (Id.) The District

Court entered the Final Order on August 9, 2022. (Doc. 2931.)

      On May 28, 2021, Plaintiffs’ Counsel submitted their Subscribers Counsel’s

Memorandum of Law in Support of Their Motion for Approval of Their Attorneys’

Fees and Expenses Application (“Fee Memo.”) (Doc. 2733-1.) Plaintiffs’ Counsel

requested $626,583,372 for attorneys’ fees. (Id. at p. 4.) Plaintiffs’ Counsel


1
 “fn6 – A ‘clear-sailing’ clause is an ‘agreement[ ] whereby the defendant agrees
not to contest class counsel's fee petition as long as it does not exceed a specified
amount.’ 4 Rubenstein, supra, § 13:9.” Poertner v. Gillette Co., 618 F. App’x 624
(11th Cir. 2015)
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requested $40,916,628 for reimbursement of costs and expenses. (Id. at p.5.)

Plaintiffs’ Counsel’s fees and expenses – less the $75,000,000 paid at the time of

preliminary approval of the settlement – will be paid by the Class from Class’

monetary relief. The requested fees represented 23.5% of the monetary relief. (Id.

at p. 4.)

       The District Court found that the injunctive had greater value than the

monetary relief (“The prospective injunctive relief in this case is wide-reaching

and bears greater importance for the class than the monetary relief.”) (Prelim.

Order at p. 26, Doc. 2641.) The Settlement Agreement did not address payment of

attorney’s fees for Plaintiffs’ Counsel’s time spent separately negotiating the

injunctive relief benefit. Defendants did not include in their fee application a

detailed breakdown of their billings related to their injunctive relief efforts.

       In July 2021, Appellant submitted to Plaintiffs’ Counsel and other counsel

pursuant to notice instructions his written objection to the proposed amount of

attorneys’ fees. Appellant’s objections centered on three issues: The District Court

should award to attorneys’ fees no greater than the lodestar; the District Court

should reject the request for attorneys’ fees based on the common fund percentage-

of-recovery methodology; and the District Court should reject Plaintiffs’ Counsel’s

request for a lodestar multiplier.



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      The Claims Administrator sent direct notice to over 100,000,000 Class

Members. (Final Order at p. 21, Doc. 2931.) As of September 3, 2021, the claims

administrator had received 6,077,526 claims: 1,381,112 from individual

policyholders; 4,194,942 from employees enrolled in their employers’ group health

plans; and 177,687 from businesses and their group health plans. (Id. at p. 24.)

Ninety-nine percent of claimants elected the Default option. (Id.)

       In October 2021, the court conducted a multi-day fairness hearing.

Appellant traveled at his own expense from New Hampshire to Birmingham,

Alabama to attend the fairness hearing and to voice his objections. The District

Court overruled Appellant’s and other objectors’ objections with respect to the

proposed attorneys’ fees and approved Plaintiffs’ Counsel’s fee application without

modification. (Id. at pp. 67-73; and Fee Order, Doc 2932.) After the District

Court entered the Final Order and the Fee Order, Appellant timely filed his appeal.

(Doc. 2944.)

        The attorneys’ fees award is a windfall in comparison to fee awards in

other $1,000,000,000+ class action settlements and in light of the single digit cash

recoveries projected for Class members in this case.

                         SUMMARY OF ARGUMENT

      The District Court committed material errors that constitute abuses of

discretion.
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      First, the District Court failed to treat separately the injunctive relief in its

analysis and assessment of Plaintiffs’ Counsel’s fee application.        The District

Court found that the injunctive relief was of greater value to the Class than was the

$2,670,000,000 monetary relief. Given this finding, the District Court should have

bifurcated its fee analysis into two components: A reasonable fee for Plaintiffs’

Counsel’s billings related to injunctive relief and, two, a reasonable attorneys’ fee

related to the monetary relief. The hybrid analysis would require the District Court

to assess the attorneys’ fees for the injunctive relief using the lodestar method: The

injunctive relief was achieved through Plaintiffs pursuit of damages pursuant to

Section 16 of the Clayton Act, 15 U.S.C. § 26. That section is a fee shifting

statute. While Plaintiffs’ Counsel bargained away in the settlement the right to

pursue payment from Defendants for the injunctive relief-related billings, the

District Court was still required to analyze the requested fees from the perspective

of the Class’ interests before approving the attorneys’ fee award.

      Second, the District Court failed to address inconsistent and conflicting

provisions surrounding the doctrine for payment of attorneys’ fees. Defendants

paid to Plaintiffs’ Counsel shortly after preliminary approval of the settlement

(December 2020) $75,000,000 for partial reimbursement of attorneys’ fees,

expenses and interest. That fee shifting payment is inconsistent and conflicts with

the percentage-of-the-fund attorneys’ fee provision in the Settlement Agreement.
                                          9
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The conflict affects the equitable distribution of the Class’ monetary relief as

between the Class and Plaintiffs’ Counsel.

        Third, the District Court’s failure to prepare a hybrid fee analysis led the

District Court to rely on a faulty metric as part of approving the attorneys’ fee

award. In the Final Order and the Fee Order, the District Court stated that the

cross-check lodestar multiplier statistic demonstrated the reasonableness of the

requested attorneys’ fees compared to fee awards in other settlements.               The

lodestar multiplier statistic was calculated incorrectly: It included the lodestar

billings related to the injunctive relief.

        Finally, the District Court erred in finding that 23.5% was a reasonable

percentage-of-fund attorneys’ fee.       Its fee analysis included the injunctive relief

lodestar (it should have been carved out and addressed separately) and it made

errors in applying the Johnson factors and the Camden I factors.

              ARGUMENT AND CITATION TO AUTHORITIES

   I.      Standard of Review

        This Court reviews an award of attorneys’ fees for abuse of discretion. “ …

A district court's decision to award attorneys’ fees is also reviewed for abuse of

discretion, although ‘that standard of review allows us to closely scrutinize

questions of law decided by the district court in reaching the fee award.’ Camden I

Condo. Ass'n, Inc. v. Dunkle, 946 F.2d 768, 770 (11th Cir. 1991). "A district court
                                             10
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abuses its discretion if it applies an incorrect legal standard, follows improper

procedures in [reaching its decision], or makes findings of fact that are clearly

erroneous." Fitzpatrick v. Gen. Mills, Inc., 635 F.3d 1279, 1282 (11th Cir. 2011)

(alteration in original) (quotation omitted).”      Johnson v. NPAS Sols., 975 F.3d

1244, 1251 n.2 (11th Cir. 2020)


   II.      The District Court Abused Its Discretion by Failing to Apply the
            Lodestar Fee Methodology in Determining the Reasonableness of
            Plaintiffs’ Counsel’s Fee Application.

         The District Court’s finding that the attorneys’ fee was reasonable is in error

and an abuse of discretion.

            a. The District Court’s failure to treat separately the injunctive
               relief as material standalone relief

         In its Final Order and Order Awarding Subscriber Plaintiffs’ Counsel

Attorneys’ Fees and Expenses (“Fee Order”) (Doc. 2932), the District Court erred

in finding that it was mandated by this Court to assess Plaintiffs’ Counsel’s fee

application solely through the lense of the percentage-of-fund approach (attorneys’

fees payable from Class’ monetary relief),

         “In making this award of attorneys’ fees to be paid from the
         Settlement Fund, the court has applied the percentage of the fund
         method mandated by the Eleventh Circuit. Camden I Condominium
         Ass’n, Inc. v. Dunkle, 946 F.2d 768, 774 (11th. Cir. 1991).” (Fee
         Order at p. 2, ¶ 5, Doc. 2932.)



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      The District Court abused its discretion by not undertaking a bifurcated fee

analysis to assess the injunctive relief-related attorneys’ fees and the monetary

relief-related attorneys’ fees. The District Court should have assessed separately

the attorneys’ fees related to the injunctive relief. The District Court erred in

assessing the reasonableness of the proposed Plaintiffs’ Counsel’s attorneys’ fee

without recognizing this settlement featured hybrid relief consisting of significant

injunctive relief and significant monetary relief.

      The District Court found,

      “The prospective injunctive relief in this case is wide-reaching and
      bears greater importance for the class than the monetary relief.”
      (Prelim. Order at p. 26, Doc. 2641.) Also, “…Subscribers counsel
      notes that the structural relief that the Plaintiffs have obtained is more
      important that [sic] the dollar amount of the settlement. The court
      agrees.” (Id. at p. 32.)

The District Court repeated these findings in its Final Order,

      “As significant as the monetary amount of $2.67 billion is, the truly
      exceptional aspect of this settlement is the structural relief agreed
      upon.” (Final Order at p. 40, ¶ III.B.5.(a), Doc. 2931.)

      This case features two settlements in one basket. It requires a hybrid fee

assessment and analysis.      The District Court failed to scrutinize and assess

Plaintiff’s Counsel’s fee application using a hybrid approach in which (1) the

lodestar methodology was used to assess appropriate fees for Plaintiffs’

substantially prevailing pursuant to Section 16 of the Clayton Act (for non-

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monetary injunctive relief) plus (2) a reasonable fee based on a percentage of the

Class’ monetary relief (common fund doctrine). Faught v. American Home Shield

Corp, 668 F.3d 1233 (11th Cir. 2011) (settlement featured hybrid common fund and

fee shifting for changes in business practices).

      In this Court, “The lodestar analysis shall continue to be the applicable

method used for determining statutory fee-shifting awards.” Camden I

Condominium Ass’n, Inc. v. Dunkle, 946 F.2d 768, 774 (11th Cir. 1991) (“Camden

I”). Section 16 of the Clayton Act is a fee-shifting statute, Alyeska Pipeline

Service Co. v. Wilderness Society, 421 U.S. 260-261 n. 34 (1975). The calculation

of reasonable attorney fees in statutory fee-shifting cases starts with the lodestar

calculation, Hensley v. Eckerhart, 461 U.S. 424, 433-34 (1983). The Supreme

Court has restricted fee enhancements in statutory fee shifting cases. Blum v.

Stenson, 465 U.S. 886, 898 (1984) (lodestar represents a reasonable fee).

      Plaintiffs brought claims pursuant to the Sections 4 & 16 of the Clayton Act

and Sections 1 & 3 of the Sherman Act. (Complaint at p. 10, ¶ 13 & 14.) Section

16 of the Clayton Act includes a fee-shifting provision,

      “… In any action under this section in which the plaintiff substantially
      prevails, the court shall award the cost of suit, including a reasonable
      attorney’s fee, to such plaintiff.”2


2
 Section 15 U.S.C. 4 also includes a fee-shifting provision, “… any person who
shall be injured in his business or property by reason of anything forbidden in the
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      Based on the District Court’s findings of relative value and effect on

Defendants’ future business practices, Plaintiffs substantially prevailed in their

Rule 23(b)(2) claims,

      "[A] plaintiff 'prevails' when actual relief on the merits of his claim
      materially alters the legal relationship between the parties by
      modifying the defendant's behavior in a way that directly benefits the
      plaintiff." Farrar v Hobby, 506 US 103, 111-112 (1992). See also,
      “A party is ‘prevailing’ under a statute allowing the award of
      attorneys’ fees when: (1) a court has entered an enforceable judgment
      on the merits in the party’s favor, or (2) a settlement agreement has
      been enforced through a court-ordered consent decree.” Buckhannon
      Bd. and Care Home, Inc. v. West Virginia Dept. of Health and Human
      Res., 532 U.S. 598, 603-604 (2001).”

      This Court has found that that a settlement agreement containing a

jurisdictional retention provision is the functional equivalent of a consent decree

and, thus, can serve as the basis for an attorneys’ fee award. Am. Disability Ass‘n

v. Chmielarz, 289 F.3d 1315, 1318–20 (11th Cir. 2002). “When a district court

expressly retains jurisdiction to enforce a settlement, it achieves ‘precisely the

same result as would have been achieved pursuant to a consent decree.’ ” Id. 289

F.3d at 1321. The District Court retained jurisdiction to enforce the Settlement

Agreement, including its injunctive relief provisions. (Final Order at pp. 89-90, ¶

24, Doc. 2931.)


antitrust laws may sue therefor … and shall recover threefold the damages by him
sustained, and the cost of suit, including a reasonable attorney’s fee.”
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      The Plaintiffs released their right to seek attorneys’ fees from Defendants as

part of the Settlement Agreement. (Settle. Agree. at p. 46, ¶ 34. Doc. 2610-2)

though a conflicting fee-shifting arrangement will be addressed in the coming

pages. The Class is contractually bound to pay Plaintiffs’ Counsel’s fees from the

Class’ monetary relief. (Id.)

      The District Court was mandated to scrutinize and analyze the attorneys’ fee

application through the prism of a statutory fee-shifting award with respect to the

injunctive relief lodestar (released in the settlement) (Camden I, 946 F.2d at 774)

and through application of the percentage-of-the-fund doctrine with respect to the

monetary relief. (Id.)

      As in Faught, Plaintiffs’ Counsel could have negotiated a fee-shifting

payment for the injunctive relief lodestar. This could have been achieved within

the Defendants’ requirement to cap their liabilities at $2,670,000,000.           The

Defendants would have simply deducted the agreed-upon injunctive relief lodestar

from the monetary relief and adjusted the calculation of the total proposed

attorneys’ fees. Plaintiff’s Counsel could have made this demand after the parties

concluded the monetary relief negotiations.3



3
 Defendant’s set a condition that Plaintiff’s Counsel’s fees and expenses were not
to exceed 25% of the monetary relief of $2,670,000,000 in its “clear sailing”
agreement. (Settle. Agree., p. 41, ¶ 28(b.), Doc. 2610-2.)
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      Defendants’ only interest is in its total liability, including attorneys’ fees.

Ne. Eng'rs Fed. Credit Union v. Home Depot, Inc. (In re Home Depot Inc.), 931

F.3d 1065, 1080 (11th Cir. 2019) (noting that “defendant is concerned, first and

foremost, with its total liability”). Strong v. BellSouth Telecommunications, Inc.,

137 F.3d 844, 849-51 (5th Cir. 1998) (settling defendant only concerned with total

liability and allocation of class payment and fees is of little or no interest to

defense).

      The Eleventh Circuit approved the use of a comparable analysis in Faught v.

Am. Home Shield Corp., 668 F.3d at 1243-44,

      “… the district court approved an attorneys' fee award with two
      components: (1) a $1.5 million lump sum paid directly by AHS to
      class counsel as payment for the business practice changes researched
      and negotiated by class counsel for the benefit of the class, and (2)
      25% of the monetary compensation received by class members
      through the Review Desk process.” (Id. 1243.)

      The Faught district court “calculated the hours and the rates of the attorneys

and staff working on the claims and determined that the $1.5 million was a very

small amount compared to the amount of money invested in the case.” (Id.)           In

this case, despite the injunctive relief lodestar being up to 100 times greater

(estimated at $146,000,000), the record does not show that the District Court

calculated the hours and the rates of the attorneys and staff working on the

injunctive relief claims.

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       While Plaintiff’s Counsel negotiated away its right to fee-shift the injunctive

relief lodestar, that did not relieve the District Court of its duty to act as a

“guardian” for the Class’ interests by isolating the injunctive relief lodestar,

scrutinizing it, and separating it from the percentage-of-fund fee. In other words,

treating it as if it had been fee-shifted as part of its fee analysis. Plaintiffs’ Counsel

undertakes a similar exercise in its fee application papers. (Fee Memo. at pp. 43-

44, Doc. 2733-1.) There is at least one critical difference from Faught: Neither the

Defendants nor the District Court scrutinized the injunctive relief lodestar to

determine whether the lodestar’s accounting required adjustment, if any, for

staffing, billing or other issues.

       Upon the parties entering of the Settlement Agreement and its common fund

attorneys’ fee provision and “clear sailing” provision, the District Court’s role

became even more important4,


4
 “Professor Coffee explained how clear sailing provisions – agreements to remain
silent – disable the reviewing courts: If the defendant agrees not to object to the
plaintiff's fee request, there is little prospect that the court will engage in an
elaborate inquiry into the reasonableness of the hours expended by the plaintiff's
attorney. … when the defendants agree not to oppose plaintiff's fee request they
deprive the court of the only adversary who truly knows if the time was reasonably
expended. Put simply, it is the adversary and not the court who best understands
the justifications (or lack thereof) for the work the plaintiff's attorney has done.
Denied this information by the de facto settlement agreement, the court is itself a
… monitor of the plaintiff attorney's performance. John C. Coffee, Jr., The
Unfaithful Champion: The Plaintiff as Monitor in Shareholder Litigation, at 35 n.
131, Law & Contemp. Probs., Summer 1985, at 5, 35-48,” Lisa L. Casey,
                                           17
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      “While, in theory, class counsel act as fiduciaries for the class as a
      whole, once a class action reaches the fee-setting stage, ‘plaintiffs'
      counsel's understandable interest in getting paid the most for its work
      representing the class’ comes into conflict ‘with the class' interest in
      securing the largest possible recovery for its members.’ In re Mercury
      Interactive Corp. Sec. Litig., 618 F.3d 988, 994 (9th Cir. 2010).
      Accordingly, ‘the district court must assume the role of fiduciary for
      the class plaintiffs’ and ‘ensure that the class is afforded the
      opportunity to represent its own best interests.’ Id. (quotation
      omitted). The district court cannot properly play its fiduciary role
      unless - as in litigation generally - class counsel's fee petition has been
      fully and fairly vetted.” Johnson v. NPAS Sols., LLC, 975 F.3d 1244,
      1252-53 (11th Cir. 2020).

See also Strong v. BellSouth Telecommunications, Inc., 137 F.3d 844, 849-51 (5th

Cir. 1998). The Court acts as guardian of the interests of the class members. Id. at

850. The court has this duty even when “parties agree to the amount of the fee” in

a class action settlement. Id. at 849.

      b. Failure to reconcile inconsistent and conflicting provisions with
         respect to attorneys’ fee provisions in Settlement Agreement

      The Settlement Agreement contains inconsistent and conflicting provisions

surrounding the doctrine for payment of plaintiffs’ counsel’s attorneys’ fees.

Defendants paid to Plaintiffs’ Counsel at the time of preliminary approval of the

settlement $75,000,000 (39% of Plaintiffs’ Counsel’s lodestar) for partial

reimbursement of attorneys’ fees, expenses and interest. (Settle. Agree at p. 41, ¶

28(d), Doc. 2610-2.) That fee shifting payment is inconsistent and conflicts with

Reforming Securities Class Actions from the Bench: Judging Fiduciaries and
Fiduciary Judging, 2003 BYU L. Rev. 1239, 1282 n. 178.
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the percentage-of-fund attorneys’ fee to be paid by the Class (under the common

fund doctrine). (Id. at p. 41, ¶ 28(a))

      Defendants’ payment to Plaintiffs’ Counsel was a fee-shifting arrangement

in line with the statutes pursuant to which Plaintiffs brought and settled this

litigation: The Clayton Act § 4 and § 16. (Complaint at p. 10, ¶ 13, Doc. 2616.)

      Settlement agreements are contracts. “A settlement agreement is a contract,

which we construe “to effectuate the intent of the parties,” Pottinger v. City of

Miami, 805 F.3d 1293, 1298 (11th Cir. 2015), and the parties’ intent seemed to be

for the fees to be paid separately by Home Depot, i.e., a fee-shifting arrangement.”

In re Home Depot Inc., 931 F.3d at 1080.

      The Settlement Agreement is governed by New York law. (Settle. Agree. at

p. 56, ¶ 56, Doc. 2610-2.) Under New York law,

      " ‘The proper inquiry in determining whether a contract is ambiguous
      is whether the agreement on its face is reasonably susceptible of more
      than one interpretation.’ " Arrow Commc'n Labs., Inc. v. Pico Prods.,
      Inc., 206 A.D.2d 922, 922-23, 615 N.Y.S.2d 187, 188 (1994) (internal
      quotations omitted); … Ambiguity may also exist where contractual
      provisions are inconsistent, Collins v. Harrison-Bode, 303 F.3d 429,
      433-34 (2d Cir. 2002).” Wolfe v. Wolfe, No. COA16-57 at p. 9 (N.C.
      Ct. App. Aug 1, 2017).

      See also Tobin v. Gluck, 137 F. Supp. 3d 278, 293 (E.D.N.Y. Sept. 30,

2015),




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      “By contrast, if the contract is ambiguous, ‘extrinsic evidence as to
      the parties' intent may properly be considered.’ JA Apparel, 568 F.3d
      at 397. ‘Where there is such extrinsic evidence, the meaning of the
      ambiguous contract is a question of fact for the factfinder.’ Id.”

      The District Court stated the following regarding Defendants’ $75,000,000

fee-shifting payment to Plaintiffs’ Counsel, “This is the first time the court has

been presented with such a ‘quick pay’ agreement but, after careful review, it has

no reservation approving it.” (Prelim. Order at p. 46, Doc. 2641.) The District

Court followed, “… the court’s normal concerns about equitable distribution

between the class and its counsel are not at issue.” (Id. at p. 47.)

      The District Court was factually incorrect: The treatment of the $75,000,000

has a core legal bearing on the equitable distribution of the $2,670,000,000 of

monetary relief. The District Court appears to misunderstand the allocation of

monetary settlement proceeds between Class members, on the one hand, and

Plaintiffs’ Counsel for attorneys’ fees, on the other.5 In common fund cases, every

dollar paid to attorneys is one less dollar paid to class members as compensation

for their damage claims. On the other hand, attorneys’ fees shifted to defendants

under the lodestar methodology do not reduce a class’ recovery (or if paid by the


5
  “Under the terms of the Settlement, the payment of fees does not impact the
amount of relief available to Class Members.” (Final Order at p. 31, ¶ III.B.2.,
Doc. 2931.) “As noted above, in addition to the requested fees being reasonable,
the payment of the requested fee award does not in any way affect the amount of
relief available to Class Members.” (Id. at p. 34, ¶ III.B.3(c))
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class are significantly less than this Court’s 20% to 30% benchmark). Whether the

District Court treated the $75,000,000 payment as a fee-shifting payment by

Defendants or as an advance against future payments to be made by the Class from

the Class’ monetary relief (under the common fund doctrine) determines how the

$2,670,000,000 settlement is allocated between Class members and Plaintiffs’

Counsel.

      The $75,000,000 payment was a fee-shifting payment based on factual and

legal grounds.     The extrinsic evidence will show that Defendants paid the

$75,000,000 to Plaintiffs’ Counsel, the parties agreed to other fee-shifting

arrangements as part of the settlement, and the Defendants may have already made

fee-shifting payments related to Notice and Administration.6

      This Court has recognized fee-shifting attorney fee payment arrangements in

common fund cases as fee-shifting by contract. See In re: The Home Depot Inc.,

931 F.3d at 1071-72 (constructive common fund does not apply when the

agreement provides that attorney’s fees will be paid by the defendant separately

from the settlement fund, and the amount of those fees is left completely

undetermined.”). The $75,000,000 was “… paid separately, they never belonged


6
 “Separate and apart from the Fee and Expense Award, Settling Defendants further
agree to reimburse plaintiffs’ counsel’s actual and reasonable fees and expenses
incurred for Notice and Administration in an amount not to exceed seven million
dollars ($7,000,000).” (Settle. Agree. at p. 42-43, ¶ 28.h., Doc. 2610-2.)
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to the class, so they should not be included in the class benefit.” Id. at 1092. The

Class couldn’t pay the fees and expenses because the District Court had not finally

approved the Settlement, Defendants hadn’t completed their obligation to pay the

full amount of the monetary relief and Defendants hadn’t fully implemented the

injunctive relief provisions. Defendants completed in August 2022 or September

20227 their obligation to pay the monetary relief.

      Unlike the In re Home Depot Inc. constructive common fund case, this case

involves an injunctive relief provision that the District Court found to have value

greater than the monetary relief.

      Plaintiffs’ counsel failed to provide any moving papers or testimony at the

preliminary approval hearing in support of the $75,000,000 payment. Its existence

was only referenced in the Settlement Agreement, very briefly at the Preliminary

Approval hearing8, and in the Prelim. Order.         In other words, there were no

authorities cited providing evidence that the payment was not a fee-shifting

payment. Further, the District Court approved the payment and payment was made

(1) without benefit of a fee application, (2) before class members had been noticed,


7
  “Within 30 calendar days of the Court’s entry of the Final Judgment and Order of
Dismissal, Settling Defendants shall cause the remaining portion of the Settlement
Amount to be transferred into the Escrow Account.” (Settle. Agree., p. 36, ¶ 23.a.,
Doc. 2610-2.) The Final Order was entered August 9, 2022. (Doc. 2941.)
8
  Corrected Transcript: Hearing on Preliminary Approval of Subscriber Track
Settlement, November 16, 2020 at p. 50, lines 16-22, Doc. 2654.
                                         22
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(3) before the fairness hearing and (4) before settling defendants paid to a plaintiff

class the full monetary damages.

      The right to seek fee-shifting pursuant to Section 16 of the Clayton Act

would have survived settlement if not bargained away as part of the settlement.

Even if discharged, the finding that the injunctive relief had greater value than the

monetary relief should have caused the District Court to closely scrutinize the

reasonableness of the attorneys’ fee application.

       “Courts, of course, are not bound by the parties’ agreement on fees.
      Waters, 190 F.3d at 1296 n.9. So the agreed-upon fees, or the agreed-
      upon cap, are better thought of as the expected (italics added)
      attorney’s fees.” In re Home Depot Inc., 931 F.3d at 1092.

The injunctive relief will continue for five years following the Court’s entry of the

Final Judgment and Order of Dismissal. (Settle. Agree. at p. 11, ¶ A.1.zz.; Doc.

2610-2.) Further, the Plaintiffs’ experts did not testify as to the monetary value of

the injunctive relief. (Fee Memo. at p. 42, Doc. 2733-1.)

      To summarize, (a) the $75,000,000 payment made at the time of preliminary

settlement approval was a fee-shifting attorneys’ fee, and (b) the District Court

erred in not recognizing that (i) a substantial portion of Plaintiffs’ Counsel’s

lodestar was related to the fee shifting provisions of Section 16 of the Clayton Act

and (ii) the fee shifting aspects of the Section 16 lodestar could have survived

settlement.   The District Court erred in not analyzing for reasonableness the

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attorneys’ fees related to the two components of the Class’ recovery: Injunctive

relief and monetary relief.

   III.   The District Court Relied on Factually Incorrect Information and
          Erred by Failing to Provide Sufficiently Detailed Factual
          Underpinnings and Analysis for Its Attorneys’ Fees Determination.

          a. The District Court applied an incorrect lodestar fee multiplier in
             finding the attorneys’ fee was reasonable

      In reasoning supporting its approval of the fee application, the District Court

found that,

       “a lodestar multiplier of 3.23 that the percentage fee award represents
      would be fully consistent with the multipliers that courts have found
      reasonable in similarly complex mega-fund cases.” (Final Order at p.
      73, ¶ IV.I.2.(k), Doc. 2931; and Fee Order at p. 4, ¶ 5.(j.), Doc. 2932.)

The District Court’s finding is incorrect if the injunctive relief lodestar is removed

from the calculation of the monetary relief lodestar.

      Plaintiffs’ Counsel disclosed the amount of Plaintiffs’ Counsel’s time spent

litigating the injunctive relief and the monetary relief,

      “But even assuming, conservatively, that only three-quarters, or even
      only half, of the lodestar figure could be attributed to the effort to
      obtain non-monetary relief, a reasonable award of attorney fees would
      still amount to at least around $100 million.” (Fee Memo. at p. 43,
      Doc. 2733-1.)

      Plaintiff’s Counsel’s lodestar is $194,226,322. (Final Order at p. 71, ¶

IV.I.2.(f), Doc. 2931.) Using Plaintiff’s Counsel’s disclosure that up to three-

quarters of the lodestar (Fee Memo. at p. 43, Doc. 2733-1) was billed on non-
                                           24
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monetary relief, the lodestar related to non-monetary injunctive relief is estimated

at $146,000,000 and the lodestar related to monetary relief would approximate

$48,000,000.

       The District Court made a factual error by relying on an incorrect metric in

finding the attorneys’ fee was reasonable. Professor Silver’s calculation of the

lodestar multiplier of 3.2 aggregates the lodestar fees for Plaintiffs’ Counsel’s

efforts on both the injunctive relief and the monetary relief.         (Declaration of

Professor Charles Silver on the Reasonableness of Class Counsel’s Request for

Attorneys’ Fees at p. 40, ¶ 83, Doc. 2733-3.) The lodestar multiplier should have

been calculated for monetary relief, only, after deducting the lodestar related to the

injunctive relief efforts.

       Applying the hybrid fee analysis outlined above, after deducting up to

$146,000,000 for the injunctive relief-related lodestar, the resulting lodestar

multiplier for monetary relief would approximate ten in the following example:

       $626,583,372 - 23.47% requested attorneys’ fee; minus
        146,000,000 - est. injunctive relief lodestar; equals
        480,583,372 - est. requested fee related to monetary relief; divided by
         48,000,000 - est. monetary relief lodestar; equals
         10.0 times - est. monetary relief lodestar multiplier

       In contrast, testimony by Professor Brian Fitzpatrick shows that the median

and mean lodestar multipliers for monetary settlements exceeding $1,000,000,000

are 2.6 and 2.8, respectively. (Declaration of Brian T. Fitzpatrick at pp. 13-15,
                                         25
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¶18, Table 1, Doc. 2733-4.) The District Court provided an authority that stated a

three lodestar multiplier “appears to be the average” in “large and complicated

class actions,” Cox v. Cmty. Loans of Am., Inc., 2016 WL 9130979, at *3 (M.D.

Ga. Oct. 6, 2016). (Final Order at p. 73, ¶ IV.I.2.(k).)

      b. The District Court made factual errors in its review of the Johnson
         factors that caused it to incorrectly find 23.5% was a reasonable
         percentage-of-fund attorneys’ fee.

      The District Court found that 23.5% was a reasonable percentage of fund

attorneys’ fee. (Final Order at p. 34, ¶ III.B.3.c.) This finding was based on this

Court’s 20% to 30% benchmark for attorneys’ fees in common fund cases.

Camden I, 946 F.2d at 774. However, the benchmark is subject to downward or

upward adjustment. Id. at 775.

      “The factors which will impact upon the appropriate percentage to be
      awarded as a fee in any particular case will undoubtedly vary. We
      agree with the Tenth Circuit that the Johnson factors continue to be
      appropriately used in evaluating, setting, and reviewing percentage fee
      awards in common fund cases.” Brown, 838 F.2d at 454.” Id. at 776.

Here, the factors are set out in Johnson v. Georgia Highway Express, Inc., 488

F.2d 714 (5th Cir.1974).9 This Court also set forth additional factors for district

courts to consider (“Camden I factors”).10


9
  (1) [T]he time and labor required; (2) the novelty and difficulty of the questions
involved; (3) the skill requisite to perform the legal service properly; (4) the
preclusion of other employment by the attorney due to acceptance of the case; (5)
the customary fee; (6) whether the fee is fixed or contingent; (7) time limitations
                                          26
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      The District Court made errors in applying the Johnson factors and the

Camden I factors causing it to mistakenly find the requested 23.5% fee to be

reasonable. Appellant undertakes below a review of the factors, out of order,

starting first with “degree of success obtained” (eighth Johnson factor). This factor

was found by the Supreme Court to be “the most critical factor” in determining the

reasonableness of attorneys’ fees. The analysis then groups together the factors the

Supreme Court found overlapping or related.

    The amount involved and the results obtained.

      The eighth Johnson factor – “[T]he amount involved and the results

obtained” – – recognizes that a fee award should reflect the Class’ recovery on its

damage claims. Johnson, 488 F.2d at 718.

      “ ‘The most critical factor in determining a fee award's reasonableness
      is the degree of success obtained, since a fee based on the hours
      expended on the litigation as a whole may be excessive if a plaintiff

imposed by the client or the circumstances; (8) the amount involved and the results
obtained; (9) the experience, reputation, and ability of the attorneys; (10) the
"undesirability" of the case; (11) the nature and the length of the professional
relationship with the client; (12) awards in similar cases.” Johnson v. Georgia
Highway Express, Inc., 488 F.2d 714, 717-719 (5th Cir. 1974).
10
   “Other pertinent factors are the time required to reach a settlement, whether there
are any substantial objections by class members or other parties to the settlement
terms or the fees requested by counsel, any non-monetary benefits conferred upon
the class by the settlement, and the economics involved in prosecuting a class
action. In most instances, there will also be additional factors unique to a
particular case which will be relevant to the district court's consideration. In order
to facilitate this court's review of the reasonableness of attorneys' fees calculated as
a percentage of a common fund.” Camden I, 946 F.2d at 775.
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      achieves only partial or limited success.’ Hensley v. Eckerhart, 461
      U.S. 424, 436.” Farrar v. Hobby, 506 U.S. 103, 104. " ‘Where
      recovery of private damages is the purpose of . . . [ ] litigation, a
      district court, in fixing fees, is obligated to give primary consideration
      to the amount of damages awarded as compared to the amount
      sought.’ Riverside v. Rivera, 477 U.S. 561, 585 (1986) (Powell, J.,
      concurring in judgment). … (cite omitted.)” Id. 506 U.S. at 114-15.
      See also In re General Motors Corp. Pick-Up Truck Fuel Tank
      Products Liability Litigation, 55 F.3d 768 (3d Cir. 1995) “The most
      important factor to consider is the result obtained. Quoting Hensley at
      436–37.”

The Supreme Court further found,

      “In this case, we are asked to decide whether either the quality of an
      attorney's performance or the results obtained are factors that may
      properly provide a basis for an enhancement. We treat these two
      factors as one.” Perdue v. Kenny A., 559 U.S. 542, 554 (2010)

      Plaintiffs’ allege damage claims of up to $36,100,000,000. (Declaration of

Dr. Ariel Pakes at ¶ 10, Doc. 2610-11.) (After trebling allowed by statute, Clayton

Act Section 4, those damage claims could have totaled $108,300,000,000.) Before

deducting attorneys’ fees and expenses, Class members are projected to recover as

little as 7.4 cents per claim dollar (2.5 cents per claim dollar when applying treble

damages).

      Compare the above projected recoveries to class members’ recovery in

Allapattah Servs., Inc. v. Exxon Corp., 454 F. Supp. 2d 1185 (S.D. Fla. 2006). In

that $1,075,000,000 settlement (Id. at 1191), class members recovered “their full

compensatory damages (emphasis added) and nearly all of their prejudgment

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interest.” (Id. at 1185.) In addition, over 92% of the class members received a

recovery. (Id.)      “ … twenty-one States will be permitted to participate in any

remaining distribution in favor of currently unknown Class Members.” (Id. at

1189.) The case lasted 15 years, resulted in two trials, extensive appeals including

before the United States Supreme Court, and a featured “hotly contested” claims

administration process. (Id.)

         Allapattah plaintiffs’ counsel were awarded a 31.33% percentage-of-fund

fee. (Id.) That fee award was a very modest upward adjustment from the 20% to

30% benchmark.

         Based on relative recoveries – 7.4 cents versus 100.0 cents plus interest –

and expected class member participation in recoveries – 6%11 versus 92% – a

material downward adjustment in the benchmark is warranted.               A reasonable

percentage-of-fund fee in this case should approximate the median percentage-of-

fund fees in other $1,000,000,000+ class action settlements.             The reasonable

amount is discussed, below, in “Awards in similar cases” (twelfth Johnson factor).

         If the District Court relied on this factor to support its 23.5% percentage of

fund fee as being reasonable, it abused its discretion.



11
     The 6% for this case is based on the number of claims made – 6,077,526 (Final
Order at p. 24, ¶ II.F.1., Doc. 2931) – relative to the estimated number of class
members – 100,000,000. (Id. at p. 42, ¶ III.B.6.)
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    The skill requisite to perform the legal service properly.

      The third Johnson factor is “[t]he skill requisite to perform the legal service

properly.” Johnson, 488 F.2d at 718.

      The Supreme Court has stated the eighth Johnson factor (amount involved

and the results obtained) “should be folded into the quality-of-representation

factor.” (footnote omitted.) Perdue, 559 U.S. at 554. This is so because the results

obtained are relevant to attorney’s fees only if those results are attributable to

counsel’s performance, rather than, say, the other side dropping the ball. Id.” In re

Home Depot Inc., 931 F.3d at 1083.

      Appellant incorporates his argument from the eighth Johnson factor – “[T]he

amount involved and the results obtained.” Based on relative recoveries – 7.4

cents versus 100.0 cents plus interest – and expected relative participation in

recoveries – 6% versus 92% – a material, significant reduction in the benchmark is

warranted. A reasonable percentage-of-fund fee in this case should approximate

the median percentage-of-fund fees in other $1,000,000,000+ class action

settlements. The reasonable amount is discussed, below, in “Awards in similar

cases” (twelfth Johnson factor).

      If the District Court relied on this factor to support its 23.5% percentage of

fund fee as being reasonable, it abused its discretion.


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    The experience, reputation, and ability of the attorneys.

      The ninth Johnson factor is “[t]he experience, reputation, and ability of the

attorneys.” Johnson, 488 F.2d at 718. The Johnson court stated “Most fee scales

reflect an experience differential with the more experienced attorneys receiving

larger compensation.” Id.

      The Supreme Court found this factor should be folded into the eighth

Johnson factor (results obtained) “In this case, we are asked to decide whether

either the quality of an attorney's performance or the results obtained are factors

that may properly provide a basis for an enhancement. We treat these two factors

as one.” Perdue, 559 U.S. at 554.

      Appellant incorporates his argument from the eighth Johnson factor – “[T]he

amount involved and the results obtained.” Based on relative recoveries – 7.4

cents versus 100.0 cents plus interest – and expected relative participation in

recoveries – 6% versus 92% – a material, significant reduction in the benchmark is

warranted. A reasonable percentage-of-fund fee in this case should approximate

the median percentage-of-fund fees in other $1,000,000,000+ class action

settlements. The reasonable amount is discussed, below, in “Awards in similar

cases” (twelfth Johnson factor).

      If the District Court relied on this factor to support its 23.5% percentage of

fund fee as being reasonable, it abused its discretion.
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    Awards in similar cases.

      The twelfth Johnson factor considers “[a]wards in similar cases. Johnson,

488 F.2d at 719. “The reasonableness of a fee may also be considered in the light

of awards made in similar litigation within and without the court's circuit.” Id.

      In Camden I, this Court adopted a comparison of comparable data approach

for district courts to assess the reasonableness of attorneys’ fees in common fund

cases. This Court’s percentage of fund benchmark of 20% to 30% was grounded

in case settlement data and observations contained in the following textbook and

Third Circuit Task Force report:

    Herbert B. Newberg, Attorney Fee Awards (1986) (“H. Newberg”); and

    Court Awarded Attorney Fees, Report of the Third Circuit Task Force, Oct.
     8, 1985, 108 F.R.D. 237 (1985) (“Task Force Report”).

Camden I at 774. The benchmark was based on publicly-available data from

attorney fee awards in class action settlements in the United States. The awards

reflect court-determined fees after the results of settlements were known.

However, The Camden I court omitted from its legal discussion Professor

Newberg’s findings and recommendations for attorney fee payments in cases

where extraordinarily large funds were recovered. Professor Newberg stated,

      “Extraordinarily Large Fund Recovered: On the other hand, the fund
      recovered may be large, e.g. approaching or exceeding $100 million,
      so the application of a normal range of fee awards from a common

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      fund may result in a fee that is unreasonably large as compensation for
      the benefits conferred. n.132 … In final fee awards in cases involving
      very substantial fund recoveries, courts have recognized the
      economies of scale inherent in class action recoveries and awarded
      fees on a straight percentage basis that fall below the usual range of
      fund fee awards. (emphasis added) (footnote omitted)”

      n. 129 (Omitted; cites three antitrust cases and one product liability
             case in which fees awarded as a percentage of the fund were
             5.5%, 6.6%, 9.0% and 10.8% of recovery).
      n. 132 See illustrative cases, n. 129.”

H. Newberg, § 2.09, p. 55-56 n.129, n.132.

      Likewise, the Task Force Report states,

      “In a case in which a large settlement is anticipated, the negotiated
      contingency range may include relatively small percentages. For
      example, the Agent Orange plaintiffs' lawyers collected over ten
      million dollars in fees, yet that amounted to less than 6% of the
      settlement fund.” Task Force Report, 108 F.R.D. at 255 n. 63.

      With respect to the awards in similar cases (twelfth Johnson factor) and

customary fees (fifth Johnson factor), the District Court ignored factual evidence

that customary percentage of fund fees in $1,000,000,000+ settlements was

significantly less than the benchmark.        According to evidence submitted by

Plaintiff’s Counsel’s fee expert, Professor Brian Fitzpatrick, in the 2000-2021

timeframe, attorneys’ fees as a percentage of a recovery in class action settlements

of at least $1,000,000,000 using the percentage-of-fund methodology were 7.70%

(median) and 10.24% (mean) of class recoveries.           (Declaration of Brian T.

Fitzpatrick, pp. 13-15, Table 1, Doc. 2733-4).
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      Plaintiffs’ expert witness Professor Fitzpatrick’s testimony updated and

supported Professor Newberg’s observations from 1986: Where extraordinarily

large funds are recovered, courts award fees below the usual range of fund fee

awards.

      The District Court erred in overlooking Professor Fitzpatrick’s factual

testimony that was based on settlements of $1,000,000,000 or greater. (Id.) Based

on this evidence, the benchmark should be adjusted materially downward; a

reasonable percentage fee is 7.70% to 10.24%.

    The customary fee.

      The fifth Johnson factor “The customary fee for similar work in the

community …” Johnson, 488 F.2d at 418. “It is open knowledge that various

types of legal work command differing scales of compensation.” Id.

      This factor in this case features both attorney fee doctrines: Statutory fee

shifting and common fund doctrine. First, as argued above, the District Court

should have applied a lodestar fee analysis with respect to Plaintiffs’ Counsel’s

time and energy spent on injunctive relief due to the fee shifting provisions of

Section of the Clayton Act. “[T]he skill and experience of the attorneys will be

reflected in the hourly rates. Blum v. Stenson, 465 U.S. 886, 898 (1984). “A

reasonable fee is one sufficient to attract competent counsel to represent the case,

but not one that provides a windfall for attorneys.” Perdue, 559 U.S. 542 at 552.
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“There is a strong presumption that the lodestar yields a reasonable fee for this

purpose.” Id.

   “Through August 15, 2020 … Using historic blended billing rates, this work

resulted in a lodestar of $194,226,321.65. (Doc. 2273-2 at 411-42).” (Final Order

at p. 71, ¶ IV.I.2.(f), Doc. 2931.) Plaintiffs’ Counsel estimated that up to three-

quarters of its time was spent on non-monetary injunctive relief matters. (Fee

Memo. at p. 43, Doc. 2733-1.)

      The reasonable fee for the injunctive relief benefit is the associated lodestar

fee. Second, in addition, the Class will pay to the Plaintiffs’ Counsel a percentage-

of-fund fee for the monetary relief benefit.

      With respect to the percentage-of-fund fee, leading experts in the field of

class actions and attorney fees shared evidence that the use of auctions in the class

action setting led to attorneys’ fees as low as the single digits, well below the

benchmark,

      “Likewise, Professor John C, Coffee reported that it is reasonable to assume
      that ‘a series of antitrust class action auctions demonstrated that qualified
      counsel would generally offer to represent the class for fee awards in the 10-
      15% range,’ (footnote omitted) whereas in the two antitrust class actions in
      which counsel was appointed by auction the fee percentage has been in the
      single digits.” Selection of Class Counsel: Third Circuit Task Force, Final
      Report January 2002, p. 38.

      Appellant incorporates from “Awards in similar cases” (twelfth Johnson

factor) his argument that the percentage-of-fund fee should be reduced to a range
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of 7.70% to 10.24% based on comprehensive statistical evidence. This factor and

the “awards in similar cases” factor (twelfth Johnson factor) substantially overlap.

Professor Silver states,

        “ … the Eleventh Circuit has advised district court to tailor fee
       percentages by consulting the factors set out in [Johnson], the fifth of
       which is the ‘customary’ or market-based fee. Because more and
       more courts have adopted the market-based approach, the twelfth
       Johnson factor – ‘awards in similar cases’ – increasingly pushes in
       that direction as well.” (Declaration of Professor Charles Silver on
       the Reasonableness of Class Counsel’s Request for Attorneys’ Fees at
       p. 14, ¶ 30, Doc. 2733-3).

    The time and labor required.

       The first Johnson factor is “time and labor required.” Johnson, 488 F.2d at

717.

       The time and effort expended on class action litigation overlap with the

second Johnson factor, “The novelty and difficulty of the questions.” Task Force

Report 108 F.R.D. at 244 n. 20. See also Blum v. Stenson, 465 U.S. 886, 898

(1984) (novelty and complexity of the issues are reflected in number of hours spent

on the case, as complicated litigation will demand more time). In re Home Depot

Inc., 931 F.3d at 1083.

       This factor – which is one-half of the lodestar calculation (the other half

being hourly rates which is related to “the customary fee”) – does not

quantitatively affect the determination of a reasonable percentage fee in monetary

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relief percentage-of-fund cases, but is an important input to the lodestar and the

lodestar multiplier calculations.

      With respect to the percentage-of-fund fee, Appellant incorporates his

argument from above that the potential lodestar multiplier for the monetary relief –

estimated at 10.0 times – is a red flag that 23.5% constitutes an unreasonable

attorneys’ fee and thus warrants a material downward adjustment to the

benchmark.

      The District Court abused its discretion in finding “time and labor required”

supported a 23.5% fee.

    The novelty and difficulty of the questions.

      The second Johnson factor is “[t]he novelty and difficulty of the questions.”

Johnson, 488 F.2d at 718.

      The Third Circuit Task Force found that this factor overlaps with the first

Johnson factor (the time and labor required). Task Force Report 108 F.R.D. at 244

n. 20. And thus shapes the lodestar. “The novelty and complexity of the issues are

reflected in the number of hours spent on the case, as complicated litigation will

demand more time. Blum v. Stenson, 465 U.S. 886, 898 (1984).” In re Home

Depot Inc., 931 F.3d at 1083.

      With respect to the percentage-of-fund fee, Appellant incorporates his

argument from above that the potential lodestar multiplier for the monetary relief –
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estimated at 10.0 times – is a red flag that constitutes an unreasonable attorneys’

fee and thus warrants a material downward adjustment to the benchmark.

        The District Court abused its discretion in finding “[t]he novelty and

difficulty of the questions” supported a 23.5% fee.

       The preclusion of other employment by the attorney due to acceptance
        of the case.

        The fourth Johnson factor is “[t]he preclusion of other employment by the

attorney due to acceptance of the case.” Johnson, 488 F.2d at 718. The Fifth

Circuit found, “This guideline involves the dual consideration of otherwise

available business which is foreclosed because of conflicts of interest which occur

from the representation, and the fact that once the employment is undertaken the

attorney is not free to use the time spent on the client's behalf for other purposes.”

Id.

        Seventy-five law firms and more than 300 experienced entrepreneurial

plaintiffs’ counsel participated in this case.

        “And they, in turn, represent 75 -- more than 75 law firms across the
        country who have been working on this case, most of them for more
        than eight years. There are over 300 individual lawyers who have
        played significant roles in the preparation of this case, the litigation of
        it, and then the settlement.” (Corrected Transcript: Hearing on
        Preliminary Approval of Subscriber Track Settlement, November 16,
        2020 at p. 6, lines 13-18, Doc. 2654.)




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      Plaintiffs’ Counsel brought the claims pursuant to fee-shifting statutes.

Plaintiffs’ Counsel were aware they had the option of being paid by the Defendants

if they took the case to trial and won a judgment, or being paid much more

handsomely if they settled the case and applied to be paid a percentage of the

monetary relief (that substantially exceeds the lodestar fee).

      Through August 15, 2020, an approximate eight and one-half year period

from the start of litigation, Plaintiffs’ Counsel billed 434,055 hours. (Final Order

at p. 71, ¶ IV.I.2.(f), Doc. 2931.) Based on 300 attorneys staffing the case “most of

them for more than eight years” and assuming they billed at least 2,000 hours a

year over that period, they’d accumulate 5,100,000 billable hours. The lodestar

hours (434,055) represent a modest 8.5% of total billed hours. Based on averages,

this litigation had a negligible effect on precluding other employment.

      For the percentage-of-fund fee analysis, this factor warrants a downward

adjustment to the benchmark.

    Whether the fee is fixed or contingent.

      The sixth Johnson factor relates to the type of fee arrangement (hourly

versus contingent) entered into by the attorney. Johnson, 488 F.2d at 718. “The

fee quoted to the client or the percentage of the recovery agreed to is helpful in

demonstration the attorney's fee expectations when he accepted the case. But as


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pointed out in Clark v. American Marine, supra, … The criterion for the court is

not what the parties agreed but what is reasonable.’” 320 F. Supp. at 711.

      Supreme Court precedent shows that risk is not a reason to enhance a

lodestar.     City of Burlington v. Dague, 112 S.Ct. 2638, 2639 (1992) (no fee

enhancement for contingency). The Supreme Court’s precedent shows that these

entrepreneurial plaintiffs’ counsel were not entitled to a fee enhancement above

and beyond their aggregate lodestar fee.

      For the percentage-of-fund fee analysis, this factor warrants a downward

adjustment to the benchmark.

    Time limitations imposed by the client or the circumstances.

      The seventh Johnson factor is “[t]ime limitations imposed by the client or

the circumstances.” Johnson, 488 F.2d at 718. This factor recognizes “Priority

work that delays the lawyer's other legal work is entitled to some premium.” Id.

      As noted above in “the preclusion of other employment by the attorney due

to acceptance of the case” (fourth Johnson factor), on average, it appears this case

represented 8.5% of billable time for the 300 attorneys comprising Plaintiffs’

Counsel’s legal team. Given that average case load, time limitations appear to be

limited, on average, though it’s very likely some attorneys worked a

disproportionate high number of hours relative to their peers.


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      For the percentage-of-fund fee analysis, this factor warrants downward

adjustment to the benchmark.

    The “undesirability” of the case.

      The tenth Johnson factor is “[t]he undesirability" of the case.” Johnson, 488

F.2d at 719. This factor originally addressed Title VII civil rights litigation. Id.

      Appellant has not identified testimony that indicates other law firms rejected

this case due to the possible outcome of the case or for any other number of

possible reasons. The record shows that more than 300 attorneys represented

Plaintiffs. Even if some attorneys passed on the opportunity to work on the

litigation, the District Court found that Plaintiffs’ Counsel, “… are recognized as

top authorities in their field.” (Final Order at p. 30, ¶ III.B.1., Doc. 2931.)

      For     the   percentage-of-fund     assessment,      under    this     factor,   the

“undesirability” risk should be significantly discounted or eliminated completely in

establishing the benchmark.

    The nature and length of the professional relationship with the client

      The eleventh Johnson factor is "[t]he nature and length of the professional

relationship with the client." Johnson, 488 F.2d at 719.

      There were a total of 67 class representatives. (Fee Memo. at p. 5, n.2, Doc

2733-1.) This case includes an estimated 100,000,000 class members. (Final

Order, p. 72, ¶ IV.I.2.(f), Doc. 2931.)         The vast preponderance of the Class
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members are absent with no prior relationships to Plaintiffs’ Counsel. Appellant

believes the “relationship” risk should be significantly eliminated or discounted in

establishing the benchmark. This factor didn’t have independent significance in

the context of a class action. It didn’t weigh in favor of the 23.5% fee award.

    Non-monetary benefits conferred upon the class by the settlement
     benefits. (Camden I factor)

      As its name suggests, one of the Camden I factors – “non-monetary benefits

conferred upon the class by the settlement benefits” – recognizes that a fee award

should take into consideration a benefit received by the Class related to non-

monetary benefits. Camden I, 946 F.2d at 775.

      The District Court found that “[t]he Settlement has resulted in significant,

historic injunctive relief for the class”. (Final Order, p. 71, ¶ IV.I.2.(a), Doc.

2931.) The benefit associated with injunctive relief should have been separated

from the percentage fee analysis because of its materiality, and addressed by a

separate fee analysis. That means the District Court should have subtracted the

injunctive relief lodestar (estimated at $146,000,000 for this exercise) from the

Plaintiffs’ Counsel’s requested fee of $626,583,372 to arrive at the fee requested

for monetary relief, $480,583,372 (18.0% of the monetary relief). The District

Court should have started its analysis, in this example, at assessing the




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reasonableness of 18.0% (assuming the injunctive relief lodestar is not adjusted

downward) instead of 23.5%.

      Plaintiffs’ expert witnesses didn’t testify as to the monetary value of the

injunctive relief, “While it is unnecessary to quantify precisely the value of this

historic equitable relief, ...” (Fee Memo. at p. 42, Doc. 2733-1.) That supports the

argument that the benefit of the injunctive relief should be excluded from the

percentage-of-fund fee analysis.

      The District Court erred by including the injunctive relief benefit in its fee

analysis and not undertaking a bifurcated analysis as in Faught. This factor should

be removed from consideration as part of the percentage-of-fund fee assessment.

    The economics involved in prosecuting a class action benefit. (Camden I
     factor)

      The District Court stated, “The fee in this case was contingent on obtaining

class relief, and Subscribers’ Counsel invested their own money in fronting the

expenses in this litigation, all in the face of significant risk that they would recover

nothing and lose millions and millions of dollars.” (Final Order, p. 72, ¶ IV.I.2.(g),

Doc. 2931.)

      The Supreme Court has found that litigation risk is not a basis for enhancing

a lodestar. City of Burlington v. Dague, 112 S.Ct. 2638, 2639 (1992) (no fee

enhancement for contingency).

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                                 CONCLUSION

      For the foregoing reasons, Appellant respectfully requests the Court to find

the District Court abused its discretion in finding reasonable the requested

attorneys’ fees, that the Court vacate the District Court’s August 9, 2022 Fee Order

(Doc. 2932), and remand to the District Court for further proceedings.

      Respectfully submitted this 12th day of December, 2022.


                                              /s/ David G. Behenna
                                              David G. Behenna
                                              155 Fleet Street
                                              Portsmouth, NH 03801
                                              Telephone: (603) 964-4688
                                              Email: dgbehenna@yahoo.com

                                              Pro Se Objector-Appellant




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                     CERTIFICATE OF COMPLIANCE

      I certify that this document complies with the word limit set forth in Federal

Rules Appellate Procedure 27(d)(2).       This document contains 9,931 words,

excluding the parts exempted by Federal Rules Appellate Procedure 32(f) and 11th

Circuit Rule 32-4. This document complies with the typeface requirements of

Federal Rules Appellate Procedure 32(a)(5) and the type-style requirements of

Federal Rules Appellate Procedure 32(a)(6).           It has been prepared in a

proportionally spaced typeface using 14 point Times New Roman font.


Dated: December 12, 2022                      Respectfully submitted,

                                              /s/ David G. Behenna
                                              David G. Behenna
                                              155 Fleet Street
                                              Portsmouth, New Hampshire 03801
                                              Telephone: (603) 964-4688
                                              Email: dgbehenna@yahoo.com

                                              Pro Se Objector-Appellant




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                            CERTIFICATE OF SERVICE

      I hereby certify that on December 12, 2022, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. Those counsel for

Appellants and Appellees who are registered ECF users will be served by the ECF

system.

Dated: December 12, 2022                      /s/ David G. Behenna
                                              David G. Behenna
                                              155 Fleet Street
                                              Portsmouth, New Hampshire 03801
                                              Telephone: (603) 964-4688
                                              Email: dgbehenna@yahoo.com

                                              Pro Se Objector-Appellant




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